       Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 1 of 62




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                      )
DISTRICT OF COLUMBIA, et al.,                         )
                                                      )
                       Plaintiffs,                    )
                                                      )
                       v.                             )       C.A. No. 1:20-cv 00119-BAH
                                                      )
UNITED STATES DEPARTMENT OF                           )
AGRICULTURE, et al.,                                  )
                                                      )
                       Defendants.                    )
                                                      )
                                                      )
BREAD FOR THE CITY, et al.,                           )
                                                      )
                       Plaintiffs,                    )
                                                      )
               v.                                     )       C.A. No. 1:20-cv-00127-BAH
                                                      )
UNITED STATES DEPARTMENT OF                           )
AGRICULTURE et al.,                                   )
                                                      )
                       Defendants.                    )
                                                      )

         STATE PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
    PURSUANT TO RULE 56 OF THE FEDERAL RULES OF CIVIL PROCEDURE

       Plaintiffs the District of Columbia, the State of New York, the State of California, the State

of Connecticut, the State of Colorado, the State of Hawaii, the State of Illinois, the State of Maine,

the State of Maryland, the Commonwealth of Massachusetts, Attorney General Dana Nessel on

behalf of the people of Michigan, the State of Minnesota, the State of Nevada, the State of New

Jersey, the State of New Mexico, the State of Oregon, the Commonwealth of Pennsylvania, the

State of Rhode Island, the State of Vermont, the Commonwealth of Virginia, and the City of New

York (collectively, “Plaintiffs” or the “States”) respectfully move for summary judgment.
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 2 of 62




Plaintiffs seek an order vacating the final agency action, Supplemental Nutrition Assistance

Program: Requirements for Able-Bodied Adults Without Dependents, 84 Fed. Reg. 66782 (Dec.

5, 2019) (the “Rule”), by U.S. Department of Agriculture (“USDA” or the “agency”) and George

Ervin Perdue III, Secretary of USDA (collectively with the United States, “Defendants”) and

declaring that the Rule violates the Administrative Procedure Act (“APA”).

       As demonstrated in the accompanying Memorandum of Points and Authorities, Plaintiffs

are entitled to relief because the Rule was promulgated without observance of procedure required

by law, 5 U.S.C. §§ 701-706, is substantively not in accordance with law, 5 U.S.C. §§ 701-706,

and is arbitrary and capricious, 5 U.S.C. §§ 701-706. In support of this motion, Plaintiffs submit

the attached memorandum of law and the declarations of Edward Bolen, Catherine Buhrig, Alexis

Carmen Fernández, Joshua Rivera, and Laura Zeilinger. Also attached is a proposed order. Oral

argument is requested on this motion because of the complex legal arguments involved in this case.

Dated: June 24, 2020                 Respectfully submitted,

                                     KARL A. RACINE
                                     Attorney General for the District of Columbia

                                     /s/ Kathleen Konopka
                                     Kathleen Konopka (D.C. Bar No. 495257)
                                     Deputy Attorney General

                                     Jennifer Rimm (D.C. Bar No. 1019209)
                                     Vikram Swaruup
                                     Nicole Hill (D.C. Bar No. 888324938)
                                     David Brunfeld (D.C. Bar No. 1672059)
                                     Assistant Attorneys General

                                     [signatures continued on following page]




                                                2
Case 1:20-cv-00119-BAH    Document 65       Filed 06/24/20        Page 3 of 62




                         441 Fourth Street, N.W., Suite 650-S
                         Washington, D.C. 20001
                         (202) 742-6610 (Phone)
                         kathleen.konopka@dc.gov
                         jennifer.rimm@dc.gov
                         vikram.swaruup@dc.gov
                         nicole.hill@dc.gov

                         Attorneys for the District of Columbia

                         LETITIA JAMES
                         Attorney General for the State of New York

                         /s/ Eric R. Haren
                         Eric R. Haren (D.C. Bar No. 985189)
                         Special Counsel

                         Matthew Colangelo (D.C. Bar No. 997893)
                         Chief Counsel for Federal Initiatives

                         28 Liberty Street
                         New York, NY 10005
                         (212) 416-8804 (Phone)
                         eric.haren@ag.ny.gov
                         matthew.colangelo@ag.ny.gov

                         Attorneys for the State of New York




                                   3
     Case 1:20-cv-00119-BAH     Document 65   Filed 06/24/20   Page 4 of 62




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


                                          )
DISTRICT OF COLUMBIA, et al.,             )
                                          )
                  Plaintiffs,             )
                                          )
                  v.                      )     C.A. No. 1:20-cv 00119-BAH
                                          )
UNITED STATES DEPARTMENT OF               )
AGRICULTURE, et al.,                      )
                                          )
                  Defendants.             )
                                          )
                                          )
BREAD FOR THE CITY, et al.,               )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )     C.A. No. 1:20-cv-00127-BAH
                                          )
UNITED STATES DEPARTMENT OF               )
AGRICULTURE et al.,                       )
                                          )
                  Defendants.             )
                                          )

         MEMORANDUM OF LAW IN SUPPORT OF STATE PLAINTIFFS’
                 MOTION FOR SUMMARY JUDGMENT
         Case 1:20-cv-00119-BAH                       Document 65                Filed 06/24/20              Page 5 of 62




                                              TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................1

STATEMENT OF FACTS ..........................................................................................................2

          A.      CONGRESS INTENDED FOR SNAP TO EFFECTIVELY ALLEVIATE HUNGER. ..................2

          B.      USDA MAINTAINED REGULATIONS FOR DECADES THAT ACCORDED STATES
                  FLEXIBILITIY IN REQUESTING WAIVERS. ..................................................................5

          C.      CONGRESS REJECTED LIMITS LIKE THOSE THE RULE SEEKS TO IMPLEMENT. .............6

          D.      THE RULE UPENDS DECADES OF AGENCY POLICY AND ADOPTS STRICT
                  REQUIREMENTS THAT CONGRESS REJECTED. ............................................................7

STANDARD OF REVIEW .........................................................................................................9

ARGUMENT ............................................................................................................................11

          I.       USDA’S PROPOSED RULE FAILED TO PROVIDE SUFFICIENT NOTICE OF THE
                    CHANGES THAT THE RULE IMPOSES .....................................................................11

          II.     THE RULE VIOLATES THE APA BECAUSE IT IS CONTRARY TO LAW .........................13
                A. USDA’s Near-Total Focus on General Unemployment Data to Evaluate Lack of
                     Sufficient Jobs for ABAWDs is Contrary to Law.. ............................................13
                B. USDA Acted Contrary to Law by Imposing a Strict Definition of Area ............. 15
                C. USDA’s Elimination of Unused Discretionary Exemptions is Contrary to Law 18
         III.     THE RULE VIOLATES THE APA BECAUSE IT IS ARBITRARY AND CAPRICIOUS. .......... 23

                A. The Rule’s Reduction of the Sufficient Jobs Inquiry to General Unemployment
                    Rates is Arbitrary and Capricious .......................................................................24
                B. The Rule’s Elimination of the Extended Unemployment Benefits Qualification
                    Standard is Arbitrary and Capricious. .................................................................28
                C. The Rule’s Restrictions on Waiver Area are Arbitrary and Capricious ............... 29
                D. USDA’s Decision to Limit Carryover of Unused Exemptions is Arbitrary and
                    Capricious ......................................................................................................... .35
                E. The Rule Fails to Consider the Cost and Disparate Impact of the Rule ...............37

          IV. PLAINTIFFS HAVE STANDING TO CHALLENGE THE RULE..........................................41


                                                                    ii
         Case 1:20-cv-00119-BAH                      Document 65              Filed 06/24/20             Page 6 of 62




CONCLUSION .........................................................................................................................42




                                                                 iii
       Case 1:20-cv-00119-BAH               Document 65           Filed 06/24/20         Page 7 of 62




                                       TABLE OF AUTHORITIES

CASES

Air Alliance Houston v. EPA

  906 F.3d 1049 (D.C. Cir. 2018). --------------------------------------------------------------------------- 42

Ali v. Federal Bureau of Prisons

  552 U.S. 214 (2008) ----------------------------------------------------------------------------------------- 21

Allina Health Servs. v. Sebelius

  746 F.3d 1102 (D.C. Cir. 2014) --------------------------------------------------------------------------- 11

Am. Bankers Ass’n v. Nat’l Credit Union Admin.

   271 F.3d 262 (D.C. Cir. 2001) ---------------------------------------------------------------------------- 21

Am. Fed’n of Labor & Cong. of Indus. Organizations v. Donovan

  757 F.2d 330 (D.C. Cir. 1985) ------------------------------------------------------------------------------ 9

Am. Radio Relay League, Inc. v. FCC

  524 F.3d 227 (D.C. Cir. 2008) ------------------------------------------------------------------------------ 9

ANR Storage Co. v. FERC

   904 F.3d 1020 (D.C. Cir. 2018) -------------------------------------------------------------------------- 29

Arkema Inc. v. EPA

  618 F.3d 1 (D.C. Cir. 2010) -------------------------------------------------------------------------------- 23

Ass’n of Private Sector Colls. & Univs. v. Duncan

  681 F.3d 427 (D.C. Cir. 2012) ------------------------------------------------------------------------ 12, 41




                                                       iv
       Case 1:20-cv-00119-BAH               Document 65           Filed 06/24/20         Page 8 of 62




                                       TABLE OF AUTHORITIES
                                                     (continued)

AT&T Wireless Servs. Inc. v. FCC

  270 F. 3d 959 (D.C. Cir. 2001) ---------------------------------------------------------------------------- 41

Azar v. Allina Health Servs.

  139 S. Ct. 1804 (2019) -------------------------------------------------------------------------------------- 21

Babb v. Wilkie

  140 S. Ct. 1168 (2020) -------------------------------------------------------------------------------------- 15

Barnhart v. Walton,

  535 U.S. 212 (2002) ----------------------------------------------------------------------------------------- 21

Bostock v. Clayton Cty., Georgia

  No. 17-1618, 2020 WL 3146686 (U.S. June 15, 2020) ------------------------------------------ 13, 35

Boyle v. United States

  556 U.S. 938 (2009) ----------------------------------------------------------------------------------------- 15

BP Energy Co. v. FERC

  838 F.3d 959 (D.C. Cir. 2016) ----------------------------------------------------------------------------- 22

Bus. Roundtable v. SEC

  647 F.3d 1144 (D.C. Cir. 2011) --------------------------------------------------------------------------- 40

Catawba County v. EPA

  571 F.3d 20 (D.C. Cir. 2009) ------------------------------------------------------------------------------ 22

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.

  467 U.S. 837 (1984) ----------------------------------------------------------------------------------------- 10

City of Portland v. EPA

  507 F.3d 706 (D.C. Cir. 2007) ----------------------------------------------------------------------------- 38


                                                       v
       Case 1:20-cv-00119-BAH               Document 65           Filed 06/24/20         Page 9 of 62




                                       TABLE OF AUTHORITIES
                                                     (continued)

ConocoPhillips Co. v. EPA

  612 F.3d 822 (5th Cir. 2010)------------------------------------------------------------------------------- 41

Council of Parent Attorneys & Advocates, Inc. v. DeVos

  365 F. Supp. 3d 28 (D.D.C. 2019) ------------------------------------------------------------------------ 39

Council for Urological Interests v. Burwell

  790 F.3d 212 (2015) ----------------------------------------------------------------------------------------- 22

CSX Transp., Inc. v. Surface Transp. Bd.

  584 F.3d 1076, 1082 (D.C. Cir. 2009) -------------------------------------------------------------- 11, 12

Dep't of Homeland Sec. v. Regents of the Univ. of California

  No. 18-587, 2020 WL 3271746 (U.S. June 18, 2020)------------------------------------------------- 32

Dep’t of Homeland Sec. v. MacLean

  135 S. Ct. 913 (2015)----------------------------------------------------------------------------------- 14, 19

Encino Motorcars, LLC v. Navarro

  136 S. Ct. 2117 (2016) --------------------------------------------------------------------------------- 11, 27

Envtl. Integrity Project v. EPA

  425 F.3d 992 (D.C. Cir. 2005) ----------------------------------------------------------------------------- 11

FCC v. Fox Television Stations, Inc.

  556 U.S. 502 (2009) ------------------------------------------------------------------------------------ 10, 30

Forest Grove Sch. Dist. v. T.A.

  557 U.S. 230 (2009) ----------------------------------------------------------------------------------------- 17




                                                       vi
      Case 1:20-cv-00119-BAH                Document 65          Filed 06/24/20         Page 10 of 62




                                       TABLE OF AUTHORITIES
                                                     (continued)

Good Fortune Shipping SA v. Comm’r of Internal Revenue

  897 F.3d 256 (D.C. Cir. 2018) ------------------------------------------------------------------------ 10, 28

Gresham v. Azar

  950 F.3d 93 (D.C. Cir. 2020) ------------------------------------------------------------------------- 28, 34

Guedes v. Bur. of Alcohol, Tobacco, Firearms and Explosives

  920 F.3d 1 (D.C. Cir. 2019) -------------------------------------------------------------------------------- 10

Hearth, Patio & Barbecue Ass’n v. U.S. Dep’t of Energy

   706 F.3d 499 (D.C. Cir. 2013) ----------------------------------------------------------------------- 20, 22

Home Box Office, Inc. v. FCC

  567 F.2d 9 (D.C. Cir. 1977) -------------------------------------------------------------------------------- 12

Int’l Union, United Mine Workers of Am. v. Mine Safety & Health Admin.

  407 F.3d 1250 (D.C. Cir. 2005) --------------------------------------------------------------------------- 11

Judulang v. Holder

  565 U.S. 42 (2011)------------------------------------------------------------------------------------------- 10

Kisor v Wilkie

  139 S. Ct. 2400 (2019) -------------------------------------------------------------------------------------- 17

Koons Buick Pontiac GMC, Inc. v. Nigh

  543 U.S. 50 (2004)------------------------------------------------------------------------------------------- 19

Lorillard v. Pons

  434 U.S. 575 (1978) ----------------------------------------------------------------------------------------- 17




                                                      vii
      Case 1:20-cv-00119-BAH                Document 65          Filed 06/24/20         Page 11 of 62




                                       TABLE OF AUTHORITIES
                                                     (continued)

Loving v. IRS

  742 F.3d 1013 (D.C. Cir. 2014) --------------------------------------------------------------------------- 10

Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Curran

  456 U.S. 353 (1982) ----------------------------------------------------------------------------------------- 17

Michigan v. EPA

  135 S. Ct. 2699 (2015) -------------------------------------------------------------------------------------- 38

Miller v. Casey

  730 F.2d 773 (D.C. Cir. 1984) ----------------------------------------------------------------------------- 16

Milner v. Dep’t of Navy

  562 U.S. 562 (2011) ----------------------------------------------------------------------------------------- 21

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.

  463 U.S. 29 (1983)------------------------------------------------------------------------------------- passim

Nat’l Ass’n of Home Builders v. EPA

  682 F.3d 1032 (D.C. Cir. 2012) --------------------------------------------------------------------------- 38

Nat’l Fuel Gas Supply Corp. v. FERC

  468 F.3d 831 (D.C. Cir. 2006) ----------------------------------------------------------------------------- 31

Nat'l Lifeline Assoc. v. FCC

  921 F.3d 1102 (D.C. Cir. 2019) --------------------------------------------------------------------------- 10

Nat. Res. Def. Council, Inc. v. Rauch

  244 F. Supp. 3d 66 (D.D.C. 2017) ------------------------------------------------------------------------ 38

New York v. U.S. Dep’t of Health & Human Servs.

  414 F. Supp. 3d 475 (S.D.N.Y. 2019) -------------------------------------------------------------------- 12


                                                      viii
      Case 1:20-cv-00119-BAH                Document 65          Filed 06/24/20         Page 12 of 62




                                       TABLE OF AUTHORITIES
                                                     (continued)

New York v. U.S. Dep’t of Labor

  363 F. Supp. 3d 109 (D.D.C. 2019). ---------------------------------------------------------------------- 42

NLRB v. Bell Aerospace Co. Div. of Textron

  416 U.S. 267 (1974) ----------------------------------------------------------------------------------------- 17

Nuclear Energy Inst., Inc. v. EPA

  373 F.3d 1251 (D.C. Cir. 2004) --------------------------------------------------------------------------- 10

Office of Consumers’ Counsel v. FERC,

  783 F.2d 206, 222 (D.C. Cir. 1986) ---------------------------------------------------------------------- 14

Public Citizen, Inc. v. U.S. Dep’t of Health & Human Servs.

  332 F.3d 654 (D.C. Cir. 2003) ------------------------------------------------------------------------ 20, 21

Russello v. United States

  464 U.S. 16 (1983)------------------------------------------------------------------------------------------- 14

Sec. Indus. & Fin. Markets Ass’n v. CFTC

  67 F. Supp. 3d 373 (D.D.C. 2014) ------------------------------------------------------------------------ 40

Sierra Club v. EPA

  884 F.3d 1185 (D.C. Cir. 2018) --------------------------------------------------------------------------- 29

Spokeo, Inc. v. Robins

  136 S. Ct. 1540 (2016) -------------------------------------------------------------------------------------- 41

Tesoro Alaska Petroleum Co. v. FERC

  234 F.3d 1286 (D.C. Cir. 2000) --------------------------------------------------------------------------- 33




                                                       ix
       Case 1:20-cv-00119-BAH                Document 65            Filed 06/24/20         Page 13 of 62




                                    TABLE OF AUTHORITIES
                                                   (continued)

STATUTES

5 United States Code

    § 553 ---------------------------------------------------------------------------------------------------------- 9

7 United States Code

    § 2011---------------------------------------------------------------------------------------------------------- 3

    § 2015--------------------------------------------------------------------------------------------------- passim

    § 2027--------------------------------------------------------------------------------------------------------- 17

29 United States Code

    § 3121--------------------------------------------------------------------------------------------------------- 16

Agricultural Act of 2014, Pub. L. No. 113-79, 128 Stat. 64------------------------------------------ 6, 17

Agriculture Improvement Act of 2018, Pub. L. No. 115-334, 132 Stat. 4490 ------------ 4, 6, 20, 21

Balanced Budget Act of 1997, Pub. L. No. 105-33, 111 Stat. 251 -------------------------------------- 4

Farm Security and Rural Investment Act of 2002, Pub. L. No. 107-171, 116 Stat. 134 -------- 6, 17

Food, Conservation, and Energy Act of 2008, Pub. L. No. 110-246, 122 Stat. 1651------- 6, 17, 21

Personal Responsibility and Work Opportunity Reconciliation Act of 1996,

    Pub. L. No. 104-193, 110 Stat. 2105 -------------------------------------------------------------- passim


REGULATIONS

7 C.F.R. § 273.24(f)(2)(ii) -------------------------------------------------------------------------- 5, 8, 17, 20




                                                         x
       Case 1:20-cv-00119-BAH               Document 65          Filed 06/24/20        Page 14 of 62




                                   TABLE OF AUTHORITIES
                                                 (continued)

Food Stamp Program: Work Provisions of the Personal Responsibility and

    Work Opportunity Reconciliation Act of 1996 and Food Stamp Provisions of

    the Balanced Budget Act of 1997,

    67 Fed. Reg. 41589------------------------------------------------------------------------------------ 19, 20

Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults Without

    Dependents, Notice of Proposed Rulemaking,

    84 Fed. Reg. 980-------------------------------------------------------------------------------------- passim

Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults Without

    Dependents, Final Rule,

    84 Fed. Reg. 66782----------------------------------------------------------------------------------- passim

OTHER AUTHORITIES

142 Cong. Rec. 17,782 (1996) --------------------------------------------------------------------------------- 3

Agriculture and Nutrition Act of 2018, H.R. 2, 115th Cong. § 4015 ------------------------------- 6, 14

H.R. Rep. No. 115-1072 (2018) (Conf. Rep.)-------------------------------------------------------- passim

S. 3042, 115th Cong. § 4103 ----------------------------------------------------------------------------------- 7




                                                       xi
      Case 1:20-cv-00119-BAH           Document 65         Filed 06/24/20      Page 15 of 62




                                        INTRODUCTION
        The Supplemental Nutrition Assistance Program (“SNAP”) has been the country’s primary

weapon against hunger for more than 40 years. The Rule dramatically alters long-standing aspects

of SNAP applicable to unemployed adults who are not disabled or raising minor children

(“ABAWDs”). It imposes stringent restrictions on states’ ability to continue benefits to these

individuals contrary to Congress’ mandate that benefits should continue if there are insufficient

jobs for SNAP recipients where they reside and despite strong evidence that these individuals

cannot reasonably replace their benefits with income. The restrictions would result in

approximately 700,000 SNAP recipients losing their lifeline to food. Especially now, as our nation

reels from the COVID-19 pandemic, state flexibility to provide for the nutritional needs of our

residents is essential.

        The Personal Responsibility and Work Opportunity Reconciliation Act of 1996 (the

“PRWORA” or “Statute”) conditioned continued SNAP benefits for ABAWDs on their meeting

certain work requirements. However, because the time limit was not designed to penalize

individuals who are willing but unable to find work, the law provides that states can seek waivers

to suspend the work requirements for any group of ABAWDs if the area where they reside lacks

sufficient jobs for them. Congress also allotted a limited number of exemptions that allow states

to temporarily extend SNAP benefits to individual ABAWDs who otherwise would be denied

those benefits.

        The Rule is procedurally flawed. USDA deprived commenters of a meaningful opportunity

to address material aspects of the Rule, including the removal of a state’s qualification for extended

unemployment benefits as a readily approvable basis for a work requirement waiver. All but two

states now qualify for extended unemployment benefits in the wake of the COVID-19 crisis. Bolen




                                                  1
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 16 of 62




Supp. Decl. ⁋ 14.1

       The Rule also substantively contravenes the SNAP statute by effectively eliminating the

insufficient jobs inquiry and the indefinite carryover of exemptions mandated by statutory

language and clear statements of congressional intent. The Rule arbitrarily and capriciously upends

more than two decades of agency rules and factual findings with no supported justification.

       In short, USDA has retreated from the purpose of the Statute in favor of a new goal,

nowhere supported in the congressional or administrative record, to reduce the overall number of

ABAWD SNAP recipients and “address the problem of States’ manipulative usage” of waiver

standards “to maximize waived areas.” 84 Fed. Reg. at 66795. The Rule furthers this goal by

unlawfully rewriting the Statute and arbitrarily reducing the inquiry to a question solely of general

unemployment rates. Those rates undisputedly fail to capture the ABAWD experience, which

includes the hallmarks of poverty: limited education, limited work experience, unstable housing,

lack of access to reliable transportation and childcare, and mental and physical challenges.

       In 2018, Congress rejected a proposal to impose restrictions nearly identical to those found

in the Rule. USDA cannot impose by Rule restrictions that Congress has expressly refused to

impose by legislation. The Rule is unlawful and should be vacated.

                                     STATEMENT OF FACTS
       A.      Congress Enacted SNAP to Effectively Alleviate Hunger.

       Formerly referred to as food stamps, SNAP has provided vital food assistance since 1977.

Its goal is to “promote the general welfare” by “raising levels of nutrition among low-income




1
 Plaintiffs refer throughout to supplemental declarations submitted with this Motion by the last
name of the declarant, followed by “Supp.” and the pertinent reference to the paragraph of that
declaration. Declarations that were previously submitted and are part of the record also include the
Electronic Case File (“ECF”) number.


                                                 2
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 17 of 62




households.” 7 U.S.C. § 2011.

       In 1996, Congress enacted PRWORA, Pub. L. No. 104-193, 110 Stat. 2105, with the

purpose to engage more individuals in the workforce and promote self-sufficiency. Under

PRWORA, ABAWDs may not receive SNAP benefits for more than three months in any 36-month

period (the “ABAWD time limit”) unless they meet certain work-related requirements. 7 U.S.C. §

2015(o). However, Congress expressly made the time limit inapplicable when ABAWDs reside in

an area with insufficient jobs for them. 142 Cong. Rec. 17,782 (1996). The co-author of the

provision, Rep. John Kasich (R-Ohio), made clear “[i]t is only if you are able-bodied, if you are

childless, and if you live in an area where you are getting food stamps and there are jobs available,

then it applies.” Id. (emphases added).

       PRWORA allows states to request waivers for “any group of individuals” when the “area

in which the individuals reside (i) has an unemployment rate above 10 percent; or (ii) does not

have a sufficient number of jobs to provide employment for the individuals.” 7 U.S.C. § 2015(o)(4)

(emphases added). The dual bases for the waivers—high unemployment or insufficient jobs for

ABAWDs—reflects Congress’s recognition that “the unemployment rate alone is an imperfect

measure of the employment prospects of individuals with little work history and diminished

opportunities.” ABAWD00000168.

       Congress’s provision for a specific inquiry into the availability of jobs for ABAWDs is

meaningful. Most ABAWDs face significant barriers to finding steady employment even in strong

economic times. Bolen Decl. ⁋ 12, ECF No. 3-2. Many ABAWDs have at most a high school

education, which limits their job prospects. Id. ⁋ 15. ABAWDs also disproportionately struggle

with minimal work history, physical and mental illnesses, lack of access to reliable transportation

and childcare, and homelessness or unstable living situations. Bolen Decl. ⁋⁋ 12, 17-22, ECF No.




                                                 3
      Case 1:20-cv-00119-BAH          Document 65       Filed 06/24/20      Page 18 of 62




3-2; ABAWD00110215; Gifford Decl. ⁋ 18, ECF No. 3-9; Storen Decl. ⁋ 11, ECF No. 3-17.

       These challenges result in unemployment rates for ABAWDs that are significantly higher

than, and often twice as high as the national average. See Bolen Decl. ⁋⁋ 15, 20, ECF No. 3-2.

Additionally, a substantial percentage of ABAWDs are racial minorities or women that

disproportionately lack job opportunities. ABAWD00168815. As the Center on Budget and Policy

Priorities (“CBPP”) noted, “[o]ver one-quarter of childless adult SNAP participants targeted by

the time limit are African American and approximately 20 percent are Latino. These groups,

particularly African Americans, have higher unemployment rates than white Americans and are

more affected by recessions.” ABAWD00110135.

       Congress additionally recognized that, in times of swift economic downturn or declining

employment opportunities, like the current public health crisis, states may not be able to obtain

waivers quickly enough to maintain food security for those in need. Thus, in the Balanced Budget

Act of 1997 (“BBA”), Pub. L. No. 105-33, 111 Stat. 251, 252, Congress allowed states to exempt

15 percent of their ABAWDs who would otherwise be subject to the time limit. Each exemption

enables a state to extend benefits for one additional month to one SNAP recipient. 7 U.S.C. §

2015(o)(6). Unused exemptions may be carried forward to subsequent years. Id. § 2015(o)(6)(G).

These exemptions and the ability to carry them over give states the flexibility to quickly respond

to changing economic circumstances. In the Agriculture Improvement Act of 2018, Pub. L. No.

115-334, 132 Stat. 4490 (“2018 Farm Bill”), Congress reduced the number of exemptions accrued

each year to 12 percent of ABAWDs, but it simultaneously rejected proposals to eliminate

carryover of unused exemptions altogether. 132 Stat. 4632; see also H.R. Rep. No. 115-1072, at

615-16 (2018) (Conf. Rep.).




                                                4
      Case 1:20-cv-00119-BAH           Document 65         Filed 06/24/20      Page 19 of 62




       B.      USDA Maintained Regulations for Decades that Accorded States Flexibility
               in Requesting Waivers.

       For more than two decades, USDA recognized the unique challenges faced by ABAWDs

and that states are best suited to define the scope of their waiver requests. In 1996, USDA published

guidance acknowledging “that the law provided authority to waive these provisions in recognition

of the challenges that low-skilled workers may face in finding and keeping permanent

employment.” ABAWD00000166 (“1996 guidance”). USDA recognized that states should have

“broad discretion in defining areas that best reflect the labor market prospects of program

participants and administrative needs.” Id.

       The 1996 guidance recognized that factors other than general unemployment rates are

relevant to whether there are sufficient jobs for ABAWDs. USDA therefore permitted states to

submit whatever data they deemed appropriate to support their requests “[b]ecause there are no

standard data or methods to make the determination of the sufficiency of jobs” for ABAWDs.

ABAWD00000168.

       A 2001 rule codified the waiver procedures in the 1996 guidance (the “2001 rule”).

ABAWD00000123-24. The rule includes a “non-exhaustive list” of information that states could

submit to demonstrate a lack of sufficient jobs, including that an area “(1) [w]as designated as a

Labor Surplus Area [(“LSA”)] by the Department of Labor’s [“DOL”] Employment and Training

Administration (ETA); (2) was determined by the [DOL’s] Unemployment Insurance Service as

qualifying for extended unemployment benefits; (3) has a low and declining employment-to-

population ratio; (4) has a lack of jobs in declining occupations or industries; or (5) has a 24 month

average unemployment rate 20 percent above the national average for the same period.”

ABAWD00000123; see also 7 C.F.R. § 273.24(f)(2)(ii). The 2001 rule also recognized that “State

agencies have complete discretion to define the geographic areas covered by waivers so long as



                                                  5
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 20 of 62




they provide data for the corresponding area.” ABAWD00000124 (emphasis added). These

regulations remained unchanged until the Rule.

       USDA implemented the BBA’s discretionary exemptions in a rule issued in June 2002

(“2002 rule”). ABAWD00000146-47. The 2002 rule recognized that “State agencies have

maximum flexibility to apply the exemptions as they deem appropriate.” ABAWD00000146

(emphasis added). The 2002 rule stated that “[i]f the State agency does not use all of its exemptions

by the end of the fiscal year, FNS [Food and Nutrition Service] will increase by the remaining

balance the estimated number of exemptions allocated to the State agency for the subsequent fiscal

year.” Id. The 2002 rule did not limit this carryover from each year to the next, and this rollover

of discretionary exemptions enabled states to maintain a safety net for times of sudden economic

downturn like the current pandemic.

       C.      Congress Rejected Limits Like Those the Rule Seeks to Implement.

       Congress has reauthorized SNAP four times since PRWORA’s enactment without

materially altering the flexible framework for state waiver requests and exemption carryover.2 In

its most recent reauthorization, the 2018 Farm Bill, Congress rejected the proposals that USDA

adopted in the Rule.

       The House version of the 2018 Farm Bill proposed to eliminate the statutory language

permitting a waiver based on a lack of “sufficient jobs for the individuals” and replace it with more

restrictive language, including a 7 percent unemployment floor for the area for which a waiver

would be requested. Agriculture and Nutrition Act of 2018, H.R. 2, 115th Cong. § 4015 (as passed




2
 See Farm Security and Rural Investment Act of 2002, Pub. L. No. 107-171, 116 Stat. 134; Food,
Conservation, and Energy Act of 2008, Pub. L. No. 110-246, 122 Stat. 1651; Agricultural Act of
2014, Pub. L. No. 113-79, 128 Stat. 64; Agriculture Improvement Act of 2018, Pub. L. No. 115-
334, 132 Stat. 4490.


                                                 6
      Case 1:20-cv-00119-BAH          Document 65       Filed 06/24/20      Page 21 of 62




by the House, June 21, 2018) (“House Bill”). The House proposed to limit the ability of states to

combine individual jurisdictions in a waiver request unless the jurisdictions were designated as a

Labor Market Area (“LMA”) by the DOL. Id. The House also proposed to terminate states’ ability

to carry over unused exemptions. Id. In contrast, the Senate version of the 2018 Farm Bill did not

make any changes to the waiver or exemption requirements. S. 3042, 115th Cong. § 4103 (as

reported by S. Comm. on Agric., Nutrition, & Forestry, June 18, 2018).

       The Conference Committee adopted the Senate’s proposal, maintaining the “sufficient

jobs” language and imposing no new restrictions on state waiver requests. Congress made only a

minor change to the exemption provision, reducing the percentage of ABAWDs a state may

exempt annually from 15 percent to 12 percent beginning in fiscal year 2020. H.R. Rep. No. 115-

1072, at 616 (2018) (Conf. Rep.) (“Conference Report”). President Trump signed the 2018 Farm

Bill into law on December 20, 2018.

       D.      The Rule Upends Decades of Agency Policy and Adopts Strict Requirements
               that Congress Rejected.

       One month later, USDA proposed a rule “intended to move more able-bodied recipients of

[SNAP] benefits to self-sufficiency through the dignity of work.” Supplemental Nutrition

Assistance Program: Requirements for Able-Bodied Adults Without Dependents, Notice of

Proposed Rulemaking, 84 Fed. Reg. 980 (Feb. 1, 2019) (“Proposed Rule”). The Proposed Rule

sought to do what Congress had rejected: (1) restrict states’ discretion to define the geographic

scope of waiver requests based on characteristics of local labor markets and economic conditions,

(2) impose new data restrictions that effectively narrow the “insufficient jobs” for ABAWDs

inquiry to a question of general unemployment levels, and (3) limit the carryover of ABAWD

discretionary exemptions. The Proposed Rule asserted that these new restrictions were necessary

because USDA’s “operational experience” demonstrated that states had manipulated the waiver



                                                7
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20     Page 22 of 62




criteria to request waivers for areas where it was “questionable” whether there were insufficient

jobs for ABAWDs. 84 Fed. Reg. at 981. The Proposed Rule expressly stated that USDA would

maintain state qualification for extended unemployment benefits as a basis for waiver and would

continue to allow states to seek waivers for single jurisdictions. 84 Fed. Reg. at 985-86.

       USDA received more than 100,000 comments on the Proposed Rule. 84 Fed. Reg. at

66783. 99.5 percent of those comments opposed its adoption. ABAWD00008225 (noting that

102,410 of 102,945 commenters opposed aspects of the Proposed Rule). Commenters, including

Plaintiffs, provided evidence demonstrating that the proposed changes would result in hundreds of

thousands of ABAWDs who lack job opportunities losing vital food assistance that they could not

reasonably replace with income. Commenters made clear that this result would lead to detrimental

health outcomes and other harms, the costs of which would be borne by states. Nevertheless,

USDA adopted a final Rule on December 5, 2019, that made the following changes:

       Limiting the Criteria for Waiver to High General Unemployment. Prior regulations allowed

states to seek waivers based on several criteria relevant to the ABAWD-specific inquiry. See 7

C.F.R. § 273.24(f)(2)(ii). The Rule reduces this nuanced inquiry to a cursory assessment of general

unemployment. A state now qualifies for a waiver under the “sufficient jobs” language only if an

LMA has an unemployment rate that is 20 percent above the national average and at least six

percent. 84 Fed. Reg. at 66785. The Rule also eliminates state qualification for extended

unemployment benefits as a basis for a waiver, 84 Fed. Reg. at 66789, despite the Proposed Rule’s

assurances to the contrary. These changes were scheduled to go into effect on April 1, 2020.

       Imposing a Strict Definition for Waiver “Area.” The Rule imposes a “strict definition” of

“area” to mean only an LMA. 84 Fed. Reg. at 66793. Thus, states may no longer request a waiver

for ABAWDs in a single jurisdiction, such as a county or town; again, despite the Proposed Rule’s




                                                 8
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 23 of 62




assurances to the contrary. The unemployment rate for the entire LMA must meet the Rule’s

thresholds, even when a state requests a waiver for only its intrastate portion of an interstate LMA.

This change was scheduled to go into effect on April 1, 2020.

       Eliminating Carryover of Exemptions. The Rule bars the carryover of exemptions beyond

one year and removes states’ remaining balances of carried-over exemptions on October 1, 2020.

84 Fed. Reg. at 66803. Combined with the other changes under the Rule, this is a one-two punch

against ABAWDs: the limits on waivers will deny more ABAWDs SNAP benefits, and these

exemption restrictions will reduce states’ ability to provide the remaining recipients with even

temporary continued nutritional assistance.

       On March 13, 2020, the Court issued an order preliminarily enjoining USDA from

implementing the Rule’s changes to the waiver provisions. The Rule’s changes to the carryover of

exemptions were not enjoined and are scheduled to go into effect on October 1, 2020.

                                   STANDARD OF REVIEW
       The APA imposes both procedural and substantive requirements on agency actions. The

APA’s procedural requirements demand that an agency publish “notice” in order to “give

interested persons an opportunity to participate in the rule making through submission of written

data, views, or arguments.” 5 U.S.C. § 553(b)-(c). “Notice is sufficient ‘if it affords interested

parties a reasonable opportunity to participate in the rulemaking process,’ and if the parties have

not been ‘deprived of the opportunity to present relevant information by lack of notice that the

issue was there.’” Am. Radio Relay League, Inc. v. FCC, 524 F.3d 227, 236 (D.C. Cir. 2008)

(citation omitted). If notice is inadequate, the “regulation must fall on procedural grounds, and the

substantive validity of the change accordingly need not be analyzed.” Am. Fed’n of Labor & Cong.

of Indus. Organizations v. Donovan, 757 F.2d 330, 338 (D.C. Cir. 1985).

       If an agency action complies with the APA’s procedural requirements, a court assesses


                                                 9
      Case 1:20-cv-00119-BAH             Document 65        Filed 06/24/20       Page 24 of 62




whether an agency action is substantively deficient. See, e.g., Chevron, U.S.A., Inc. v. Nat. Res.

Def. Council, Inc., 467 U.S. 837 (1984). At Chevron step one, a court employs all the “traditional

tools of statutory construction to determine whether Congress has spoken to the precise question

at issue.” Nuclear Energy Inst., Inc. v. EPA, 373 F.3d 1251, 1269 (D.C. Cir. 2004). These tools

include evaluation of the statute’s text, structure, purpose, and legislative history. See, e.g., Loving

v. IRS, 742 F.3d 1013, 1016 (D.C. Cir. 2014). If the application of those tools reveals “that

Congress had an intention on the precise question at issue, that intention is the law and must be

given effect.” Chevron, 467 U.S. at 843 n.9.

        Where a statute is silent or ambiguous on the question presented, the agency’s construction

will still fail if its interpretation of the statute is unreasonable. Guedes v. Bur. of Alcohol, Tobacco,

Firearms and Explosives, 920 F.3d 1, 28 (D.C. Cir. 2019). An agency’s construction is

unreasonable under Chevron step two if it rests on a construction of the statute that is “arbitrary

and capricious in substance,” see P.I. Op. at 32 n.13 (quoting Judulang v. Holder, 565 U.S. 42, 53

n.7 (2011)), considering the statute’s language and purpose, see Good Fortune Shipping SA v.

Comm’r of Internal Revenue, 897 F.3d 256, 261-62 (D.C. Cir. 2018).

        Agency action is arbitrary and capricious if it “‘entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise.’” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983)). To change its policy, an agency must “show that there are good

reasons for the new policy,” including a reasoned explanation for disregarding factual findings that

underlie prior policy. FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009); Nat’l Lifeline

Assoc. v. FCC, 921 F.3d 1102, 1112 (D.C. Cir. 2019). When an agency has failed to “give adequate




                                                   10
      Case 1:20-cv-00119-BAH              Document 65         Filed 06/24/20       Page 25 of 62




reasons for its decisions,” to “examine the relevant data,” or to offer a “rational connection between

the facts found and the choice made,” the regulation must be set aside. State Farm, 463 U.S. at 43

(citation omitted); Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016).

                                             ARGUMENT
        USDA’S PROPOSED RULE FAILED TO PROVIDE SUFFICIENT NOTICE OF THE CHANGES
        THAT THE RULE IMPOSES.
        The Rule violates the APA because key provisions were not subject to notice and comment.

Such notice deficiencies alone can render a rule unlawful see, e.g., Allina Health Servs. v. Sebelius,

746 F.3d 1102, 1110-11 (D.C. Cir. 2014), and in this case, they do.

        First, the Proposed Rule explicitly assured commenters that USDA would “continue” its

long-standing practice of “approv[ing] a State’s waiver request that is based upon the requesting

State’s qualification for extended unemployment benefits . . . because [such qualification] has been

a clear indicator of lack of sufficient jobs . . . .” 84 Fed. Reg. at 985. Contrary to this clear statement,

the Rule eliminates this waiver basis. 84 Fed. Reg. at 66789-90. The APA prohibits such a

“surprise switcheroo.” Envtl. Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005); see

Allina Health Servs., 746 F.3d at 1107-08 (an agency violates notice and comment requirements

when it enacts the opposite of what it proposed to the public); CSX Transp., Inc. v. Surface Transp.

Bd., 584 F.3d 1076, 1082 (D.C. Cir. 2009); Int’l Union, United Mine Workers of Am. v. Mine

Safety & Health Admin., 407 F.3d 1250, 1261 (D.C. Cir. 2005).

        Second, the Proposed Rule stated that USDA would allow grouping of substate

jurisdictions like cities and towns if the combined jurisdictions constituted an LMA. But it did not

purport to disturb a state’s existing ability to seek a waiver for individual substate jurisdictions,

such as one city or town. 84 Fed. Reg. at 986. The Rule obliterates that ability: it defines “area” as

only an LMA and eliminates states’ ability to seek a waiver for individual substate jurisdictions.

The result is, for example, the entire District of Columbia, which shares an LMA with parts of


                                                    11
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 26 of 62




Maryland, Virginia, and even West Virginia, can qualify for a waiver only if that entire LMA meets

the Rule’s general unemployment thresholds. 84 Fed. Reg. at 66794-96. The Proposed Rule

“nowhere even hinted” that USDA was considering this drastic change. CSX Transp., 584 F.3d at

1082; see Ass’n of Private Sector Colls. & Univs. v. Duncan, 681 F.3d 427, 462 (D.C. Cir. 2012).

“The gap between the [Proposed Rule] and the final Rule is particularly gaping here inasmuch as

the final Rule, without advance notice, overcomes a longstanding statutory framework” permitting

states to define the geographic scope of their waiver requests. New York v. U.S. Dep’t of Health &

Human Servs., 414 F. Supp. 3d 475, 559-60 (S.D.N.Y. 2019).

       Finally, USDA denied the opportunity for meaningful comment by relying on vague and

undefined bases. USDA cited its “operational experience” no fewer than five times in the Proposed

Rule, but it never defined this term or explained how it supported the changes. USDA claimed that

its “operational experience” demonstrated that states have manipulated the waiver system, 84 Fed.

Reg. at 981, but it provided no evidence of abuse or of any waiver that had been improperly

obtained because the area had sufficient jobs for ABAWDs. USDA’s failure to provide such

evidence denied commenters a meaningful opportunity to justify the propriety of state waiver

applications and dispute USDA’s accusations of gamesmanship. See ABAWD00008240, -8255;

see, e.g., ABAWD00168808, ABAWD00182270, ABAWD00110259-66. An agency’s notice and

comment obligations are not met by vague, conclusory assertions (indeed, accusations) that cannot

be meaningfully tested or addressed. “[T]he notice required by the APA . . . must disclose in detail

the thinking that has animated the form of a proposed rule and the data upon which that rule is

based.” Home Box Office, Inc. v. FCC, 567 F.2d 9, 35 (D.C. Cir. 1977) (emphasis added).

       USDA’s procedural failures deprived Plaintiffs and the public of the chance to comment

on key provisions of the Rule. These failures alone require that the Rule be vacated.




                                                12
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 27 of 62




       THE RULE VIOLATES THE APA BECAUSE IT IS CONTRARY TO LAW.
       The Court has already found that USDA’s near-total reliance on unemployment rates

cannot be squared with Congress’ mandate that waivers be available for areas that lack jobs for

ABAWDs. P.I. Op. at 32-33. Similarly, USDA’s strict definition of a waiver area as only an LMA,

a geographic designation that may cross state boundaries and encompass dozens of counties,

contravenes the Statute’s mandates that waivers be permitted for “any group of individuals” and

that the inquiry focus on the experience of ABAWDs, not the general populace. Finally, the

agency’s elimination of carryover of exemptions contravenes the plain text, purpose, and history

of the Statute. The Rule is contrary to its authorizing statute and must fall under Chevron.

       A.      USDA’s Near-Total Focus on General Unemployment Data to Evaluate Lack
               of Sufficient Jobs for ABAWDs Is Contrary to Law.

       The Statute commands USDA to ask a simple question: are there insufficient jobs to

provide employment for a group of ABAWDs in the area where they reside? See 7 U.S.C.

§ 2015(o)(4). The text is clear. A state may seek a waiver for “any group of individuals in the

State” where “the area in which the individuals reside” does not have sufficient jobs “to provide

employment for the individuals.” 7 U.S.C. § 2015(o)(4)(A)(2) (emphases added). USDA has not

disputed that “the individuals” refers to ABAWDs. March 5, 2020 Hr’g Tr. at 78:5-79:2.

       The Statute makes clear that the answer to Congress’s question—whether there are enough

jobs for the ABAWDS who reside in a particular area—cannot be found in a general

unemployment rate alone. P.I. Op. at 32-33; see Bostock v. Clayton Cty., Georgia, No. 17-1618,

2020 WL 3146686, at *6 (U.S. June 15, 2020) (the use of the word “individual(s)” in the statute

requires an assessment for the specific individuals at issue, not generally or even for an entire

class). Congress already made the general unemployment rate the sole criterion for a waiver under

one prong of the waiver inquiry, id. § 2015(o)(4)(i), and expressly provided a second, separate



                                                13
      Case 1:20-cv-00119-BAH             Document 65         Filed 06/24/20    Page 28 of 62




prong of inquiry in the subparagraph at issue here, id. § 2015(o)(4)(ii). “Had Congress intended to

restrict” the sufficient-jobs language in the manner USDA asserts, “it presumably would have done

so expressly as it did in the immediately [preceding] sub[paragraph].” Russello v. United States,

464 U.S. 16, 23 (1983); see also Dep’t of Homeland Sec. v. MacLean, 135 S. Ct. 913, 919 (2015)

(“Congress generally acts intentionally when it uses particular language in one section of a statute

but omits it in another.”). Moreover, as the Court explained at the preliminary injunction stage,

“[b]y making both prongs of § 2015(o)(4)(A) dependent on unemployment rate, USDA has

arbitrarily written this distinction out of the [statute].” P.I. Op. at 33.

        Recent action confirms that Congress did not intend for a general unemployment rate to

govern the lack of sufficient jobs language. P.I. Op. at 35-36. During the legislative process that

led to the 2018 Farm Bill, Congress considered a House proposal to eliminate the sufficient jobs

language and adopt a 7 percent unemployment floor. P.I. Op. at 35 (citing House Bill,

§ 4015(a)(1)). As the Court noted, “Congress’s recent rejection of waiver criteria less stringent

than those ultimately adopted by USDA is probative of congressional intent to maintain flexibility

in the waiver system.” P.I. Op. at 36. The Conference Report expressly endorsed state flexibility

by noting that “neither the Department nor Congress can enumerate every ABAWD’s situation as

it relates to possible exemption from the time limit, and subsequently, the work requirement.”

Conference Report at 616. Congress’s intent to foreclose USDA’s near-total reliance on a general

unemployment rate is clear under Chevron step one. 3



3
  As the Court alluded to previously, the Statute’s grant of some discretion to USDA to grant or
deny a waiver does not allow USDA to ignore the question Congress plainly directed it to ask in
setting the allowable criteria. P.I. Op. at 32 n.2 (referencing “may waive” in the Statute but finding
that USDA’s discretion is not unfettered). USDA’s decision to grant sufficient-jobs waivers based
only on general unemployment rates is “flatly inconsistent with Congress’ clear message on this
precise issue.” Office of Consumers’ Counsel v. FERC, 783 F.2d 206, 222 (D.C. Cir. 1986).


                                                    14
      Case 1:20-cv-00119-BAH            Document 65      Filed 06/24/20      Page 29 of 62




        The Rule similarly cannot survive Chevron step two because USDA’s interpretation is

unreasonable. P.I. Op. at 32 n.13. As the Court rightly observed, the statutory requirement that

USDA ask whether there are sufficient jobs to provide employment for ABAWDs where they reside

“is a guardrail on USDA’s discretion.” P.I. Op. at 34. USDA ran afoul of this limitation by ignoring

the common-sense proposition (not to mention “[v]oluminous evidence”) that “general

unemployment rates alone cannot measure” whether the statutory standard keyed to ABAWDs has

been met. P.I. Op. at 29-30. Similarly, as the Court noted, it would make little sense to conclude

that Congress intended a general unemployment rate to be the near-sole arbiter of a sufficient jobs

waiver when Congress specified a general unemployment rate as a separate basis for waiver. P.I.

Op. at 29, 32-36.

        B.      USDA Acted Contrary to Law by Imposing a Strict Definition of Area.

        USDA’s “strict definition,” 84 Fed. Reg. at 66783, 66795-97, of the “area” for which a

state may seek a waiver similarly contravenes the statute and for that reason the Rule must be set

aside. “Area” as used in the Statute necessarily refers to where the “group of individuals” for whom

the state requests a waiver “reside[s]”—not a statistical area covering multiple states and tens of

counties.

        A straightforward reading of the text proves this point. First, a waiver may be granted for

“any group of individuals” in a state. 7 U.S.C. § 2015(o)(4)(A). The word “any” generally gives

an expansive meaning to the word it modifies. See Babb v. Wilkie, 140 S. Ct. 1168, 1173 & n. 3

(2020). Indeed, the Supreme Court has stated that the phrase “any . . . group of individuals

associated in fact” is “obviously broad” and “has a wide reach.” Boyle v. United States, 556 U.S.

938, 944 (2009) (citation omitted). Thus, when section 2015(o) refers to “any group of individuals

in the state,” the phrase is not limited to only all ABAWDs living in the expansive boundaries of

a particular statistical designation.


                                                15
      Case 1:20-cv-00119-BAH            Document 65         Filed 06/24/20      Page 30 of 62




        Second, the waiver for “any group of individuals” is triggered only “[o]n the request of a

State agency.” 7 U.S.C. § 2015(o)(4)(A). The Statute thus gives states the responsibility for

designing the request, including selecting for what “group of individuals” to request a waiver. Cf.

Miller v. Casey, 730 F.2d 773, 776-77 (D.C. Cir. 1984). The Court recognized that the prior

regulation, unlike the Rule, was consistent with the statutory design: it gave states discretion to

define what areas would be covered by a waiver request, “because States are more familiar with

the reality of employment challenges confronting ABAWDs in particular areas.” P.I. Op. at 42.

Section 2015(o)(4) limits the term “area” in the immediately following phrase “in which the

individuals reside,” with “the individuals” referring to the “group of individuals” for whom the

state chose to request a waiver. Thus, the term “area” necessarily refers to where the “group of

individuals” for whom a single state requests a waiver “reside[s]” in that state, not a statistical area

covering multiple States and tens of counties.

        Reading “area” to refer to only an LMA renders the phrase “any group of individuals”

largely meaningless. This is an “implausible” result that fails at Chevron step one. P.I. Op. at 33.

If Congress had intended to restrict the broad term “any group of individuals” to only those groups

of individuals fitting within a predefined (and expansive) statistical area, it would have done so as

it has in other statutes. See, e.g., 29 U.S.C. § 3121 (state identification of workforce development

areas, which may include areas that are LMAs across two or more states or other appropriate

contiguous subareas of more than one state).4 The Statute’s language forecloses USDA’s use of a




4
  More generally, in neighboring subsections enacted at the same time as subsection (o)’s work
requirement, Congress required the creation of programs to help SNAP recipients find
employment. 7 U.S.C. § 2015(d)(4); P.I. Br. 32. These programs eschew rigid statistical
boundaries and instead require state-designed programs responsive to “State or local workforce
needs.” Id. § 2015(d)(3).


                                                  16
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 31 of 62




rigid federal statistical area—one that may cross numerous state and county boundaries—to the

exclusion of all other metrics.

       Finally, consistent with the plain reading of the Statute, USDA has recognized for more

than two decades that “States may define areas to be covered by waivers.” 7 C.F.R. § 273.24(f)(6).

“[T]he government’s early, longstanding, and consistent interpretation of a statute” can be

“powerful evidence of its original public meaning.” Kisor v Wilkie, 139 S. Ct. 2400, 2426 (2019)

(Gorsuch, J., concurring in the judgment).

       Moreover, “Congress is presumed to be aware of an administrative or judicial interpretation

of a statute and to adopt that interpretation when it re-enacts a statute without change.” Forest

Grove Sch. Dist. v. T.A., 557 U.S. 230, 239-40 (2009) (quoting Lorillard v. Pons, 434 U.S. 575,

580 (1978)). Over the years, Congress re-authorized, revamped, and renamed the SNAP program

and amended the work requirement subsection at issue here, but it expressly declined as recently

as 2018 to adopt a series of changes nearly identical to those imposed in the Rule. 5 All of these

congressional acts are “persuasive evidence” that USDA’s longstanding prior interpretation of

“area” is the one Congress intended. NLRB v. Bell Aerospace Co. Div. of Textron, 416 U.S. 267,

274-75 (1974); see also Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Curran, 456 U.S. 353, 381-

82 (1982) (amending a statute while leaving certain statutory provisions intact “is [] evidence that

Congress affirmatively intended to preserve that” context).




5
  The Statute expressly requires congressional action to continue SNAP’s operation beyond certain
fiscal years. Specifically, 7 U.S.C. § 2027(a)(1) requires Congress to authorize funding “[t]o carry
out this chapter” (referring to each of the SNAP provisions) in certain fiscal years. This
authorization would have expired in fiscal years 2002, 2008, 2014, and 2018 without congressional
action expressly reauthorizing funding. See Pub. L. No. 107-171, § 4122(c), 116 Stat. 134, 324
(2002); Pub. L. No. 110-246, § 4406(a), 122 Stat. 1651, 1902 (2008); Pub. L. No. 113-79, § 4024,
128 Stat. 649, 809 (2014); 7 U.S.C. § 2027(a)(1).


                                                17
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 32 of 62




       C.      USDA’s Elimination of Unused Discretionary Exemptions is Contrary to
               Law.

       USDA’s elimination of carryover for exemptions beyond one year also contravenes the

statutory text and Congress’s clearly articulated intent. Section 2015(o)(6) sets the number of

exemptions allotted for a state in each year. Initially, that number is based on a percentage of

“covered individuals,” meaning those ABAWDs that are subject to the time limit in the state. That

number must then be adjusted in a number of ways, including the one applicable here:

       the Secretary shall increase or decrease the number of individuals who may be granted an
       extension under this paragraph to the extent that the average monthly number of
       exemptions in effect in the State for the preceding fiscal year under this paragraph is lesser
       or greater than the average monthly number of exemptions estimated for the State agency
       for such preceding fiscal year under this paragraph.

Id. § 2015(o)(6)(G).

       This required adjustment is governed by a comparison between two figures: (1) “the

average monthly number of exemptions in effect” during the preceding fiscal year, and (2) “the

average monthly number of exemptions estimated for the State agency for such preceding fiscal

year under this paragraph.” Id. (emphases added). If the former is “less[]” than the latter, then

USDA “shall increase” the state’s exemptions for the present fiscal year by the difference. Id.; see

also P.I. Op. at 7. The number in effect plainly refers to exemptions used, so the only question is

whether the number “estimated . . . under this paragraph” includes the number of carryover

exemptions that also were available in the preceding fiscal year. In other words, from the vantage

point of year three, does the number “estimated . . . under this paragraph” for year two include

exemptions that were usable in year two because they were carried into year two from year one?

       The statute’s plain language demonstrates that it does. Paragraph (6) of subsection 2015(o)

is structured so that the number of exemptions is computed based on the statutory percentage, and

then adjusted upward or downward in several ways (including via the carryover language in



                                                18
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 33 of 62




subparagraph (G)). Thus, when the statute refers to the number of exemptions estimated “under

this paragraph,” it is referring to the number computed under all of paragraph (6). See Koons Buick

Pontiac GMC, Inc. v. Nigh, 543 U.S. 50, 60 (2004) (noting Congress’s “ordinar[y] adhere[nce] to

a hierarchical scheme in subdividing statutory sections” into, inter alia, paragraphs and

subparagraphs). That number includes the number of exemptions carried into the year from the

preceding year by operation of subparagraph (G) of paragraph (6). Neighboring provisions within

section 2015 demonstrate that Congress’s reference in subparagraph (G) to “this paragraph,”

meaning all of paragraph (6), was intentional. 7 U.S.C. § 2015(o)(6)(F) (referring to estimate

“under subparagraph (C), (D), or (E)”); id. § 2015(o)(3) (exempting from “Paragraph (2)”

individuals meeting certain criteria). See MacLean, 135 S. Ct. at 919.

       This ordinary meaning is confirmed by longstanding, consistent agency interpretation. See

Kisor, 139 S. Ct. at 2426. USDA guidance and rules have consistently provided for an initial

estimate of exemptions, adjusted as described in the various subparagraphs of section 2015(o)(6).

For example, the 2002 rule referred to USDA’s estimate, adjusted it to reflect “[t]he State agency’s

caseload,” as require under subparagraph (D), 6 adjusted it again for a greater-than-ten percent

variation between SNAP recipients and caseload, as required by subparagraph (F), and finally

adjusted it again to reflect subparagraph (G)’s carryover adjustment. Food Stamp Program: Work

Provisions of the Personal Responsibility and Work Opportunity Reconciliation Act of 1996 and

Food Stamp Provisions of the Balanced Budget Act of 1997, 67 Fed. Reg. 41589, 41619 (June 19,

2002). Describing the last step, USDA stated: “If the State agency does not use all of its exemptions




6
  For ease of reference, the text refers to paragraph (6)’s subparagraphs as they exist today after
the 2018 Farm Bill added a new subparagraph applying the 12 percent figure for fiscal years 2020
and following.


                                                 19
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 34 of 62




by the end of the fiscal year, FNS will increase the estimated number of exemptions allocated to

the State agency for the subsequent fiscal year by the remaining balance.” Id. at 41619 (codifying

7 C.F.R. § 273.24(h)) (emphases added). That standard, under which states have consistently

carried forward all of their unused exemptions (including those carried over from prior years), has

been USDA’s consistent approach for nearly two decades.

       In 2018, Congress extended SNAP’s authorization and made a “conscious choice” to reject

a House proposal that would have eliminated exemption carryover. Hearth, Patio & Barbecue

Ass’n v. U.S. Dep’t of Energy, 706 F.3d 499, 505 (D.C. Cir. 2013). The regular reauthorization

process that SNAP undergoes in the Farm Bills—distinct from some other statutory schemes—

makes clear that “Congress revisits the [SNAP statute] with purpose.” Id. Instead of adopting the

House’s drastic revision, the full Congress made a more measured change. It preserved the existing

exemptions language in section 2015(o)(6) but reduced the accrual percentage of exemptions from

15 to 12 percent starting in fiscal year 2020. Pub. L. No. 115-334, § 4005(b)(3), 132 Stat. 4490,

4632 (2018). Thus, Congress acted with a “scalpel, not a cudgel,” to address any perceived concern

that states had too many exemptions, foreclosing USDA from imposing that cudgel on its own.

Hearth, Patio & Barbecue Ass’n, 706 F.3d at 505.

       This process clearly demonstrates congressional intent to maintain the status quo for

exemption carryover. And the Conference Committee confirmed that intent, explaining that states

will “continue to accrue exemptions and retain any carry-over exemptions from previous years,

consistent with current law.” Conference Report at 616; Public Citizen, Inc. v. U.S. Dep’t of Health

& Human Servs., 332 F.3d 654, 668 (D.C. Cir. 2003) (citing Conference Report as evidence of

congressional intent).

       That language confirms Plaintiffs’ reading in several ways. Its reference to “any” carryover




                                                20
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 35 of 62




exemptions conveys the breadth of the retention provision. See Ali v. Federal Bureau of Prisons,

552 U.S. 214, 218-19 (2008). Its reference to “previous years” conveys that exemptions would

carry over from more than one previous year. Finally, the Report’s reference to “consistent with

current law” shows that Congress sought to maintain the existing carryover of exemptions. For

more than twenty years, over four different reauthorizations that made other amendments to the

SNAP program,7 Congress left the carryover language intact. See Public Citizen, 332 F.3d at 668

(quoting Barnhart v. Walton, 535 U.S. 212, 220 (2002) (according weight where “Congress has

frequently amended or reenacted the relevant provisions without change”)).8

       At the preliminary injunction stage, this Court noted that Plaintiffs had “point[ed] to no

case in which a court has used legislative history to deem ambiguous statutory language clear.”

P.I. Op. at 21 n.9. But the Supreme Court itself has said that “[l]egislative history, for those who

take it into account, is meant to clear up ambiguity.” Milner v. Dep’t of Navy, 562 U.S. 562, 574

(2011); see Azar v. Allina Health Servs., 139 S. Ct. 1804, 1814 (2019) (indicating that “clear

legislative history” can sometimes “illuminate ambiguous text” (citation omitted)). And it can

certainly show that Congress had a precise intent at Chevron step one. See, e.g., Am. Bankers Ass’n

v. Nat’l Credit Union Admin., 271 F.3d 262, 271 (D.C. Cir. 2001). Moreover, Plaintiffs do not




7
 For example, in the 2008 Farm Bill, Congress overhauled numerous aspects of the program and
changed its name from the Food Stamp Program to the Supplemental Nutrition Assistance
Program. See Pub. L. No. 110-246, §§ 4001-4142, 122 Stat. 1654, 1853-1882. That bill also
amended the work requirements under 7 U.S.C. § 2015. See Pub. L. No. 110-246, § 4131, 122
Stat. at 1875.
8
  The 2018 Farm Bill amended the Statute, including the waiver and exemptions provisions, in
several respects. Pub. L. 115-334, §§ 4005(a) (amending employment and training program
provision), 4005(b)(1) (amending what satisfies work requirement), 4005(b)(2) (requiring
“support of the chief executive officer of the State” for a waiver request), (b)(3) changing 15
percent exemptions to 12 percent exemptions), 4005(c) (amending employment-and-training
requirement for state plan).


                                                21
      Case 1:20-cv-00119-BAH            Document 65        Filed 06/24/20       Page 36 of 62




point merely to a statement in a committee report, but instead present evidence of conscious

decision-making to enact a narrowly tailored change to the provision at issue (from 15 to 12

percent) and to reject harsher limits on carryover in a statutory reauthorization of the entire

program. “[A] statute may foreclose an agency’s preferred interpretation despite . . . textual

ambiguities if its structure, legislative history, or purpose makes clear what its text leaves opaque.”

Catawba County v. EPA, 571 F.3d 20, 35 (D.C. Cir. 2009). That is what occurred here. See Hearth,

Patio & Barbecue Ass’n, 706 F.3d at 504-05 (statute barred the agency’s regulation where

Congress had left a contrary interpretation in place for several decades, had revisited the relevant

statute “with purpose,” and had “tak[en] to the statutory scheme a scalpel, not a cudgel”).

       The Rule acknowledges that commenters pointed USDA to the pertinent Conference

Report language and argued that USDA’s proposal was “out of line with Congressional intent.”

84 Fed. Reg. at 66803. But, as with other responses, USDA “waved away these commenters’

concerns and their supporting evidence in a few sentences of defective argument.” P.I. Op. at 30.

Indeed, the only statutory justification cited by USDA for the Rule’s complete reversal on the

carryover point is Congress’s purported “decision to limit the number of exemptions available to

States in a given fiscal year, as expressed by sections 6(o)(6)(C), (D), and (E) of the Act.” 84 Fed.

Reg. at 66802. Congress’ other restrictions are fully consistent with indefinite carryover of those

otherwise limited exemptions, and USDA’s remark fails to “grapple with” the statutory text

explained above. See BP Energy Co. v. FERC, 838 F.3d 959, 965-66 (D.C. Cir. 2016). USDA

improperly “reads . . . out of the Conference Report entirely” the report’s specific references to

“any” exemptions, “previous years,” and “consistent with current law,” Council for Urological

Interests v. Burwell, 790 F.3d 212, 222-24 (2015).

       Finally, even if USDA’s new interpretation may be applied to affect exemptions first




                                                  22
        Case 1:20-cv-00119-BAH         Document 65        Filed 06/24/20     Page 37 of 62




accumulated on or after its effective date, it may not be applied to extinguish exemption balances

accumulated under prior law. In Arkema Inc. v. EPA, 618 F.3d 1 (D.C. Cir. 2010), the D.C. Circuit

evaluated a rule governing companies’ future baseline allowances of production and consumption

of certain chemicals. The circuit concluded that an EPA regulation, operative in the future, could

not extinguish baseline allowances accumulated within that system under prior regulation when

EPA itself had recognized the accumulation of those allowances. Id. at 1-10. Here too, states have

accumulated significant baseline balances usable within an agency-run regulatory scheme under

clear prior regulation with the agency’s repeated assurance and recognition of those balances. 9

Those balances represent millions of dollars in vital food assistance to state residents that cannot

be summarily extinguished by a Rule enacted well after their accumulation. See Arkema, 618 F.3d

at 8.

         THE RULE VIOLATES THE APA BECAUSE IT IS ARBITRARY AND CAPRICIOUS.
         This Court already found based on Plaintiffs’ arguments for a preliminary injunction (State

Pls.’ Mot. 25-28, ECF No. 3, hereby incorporated by reference) that Plaintiffs are “highly likely”

to succeed in showing that the Rule runs afoul of the requirement of reasoned decision-making.

P.I. Op. at 18, 27-45. The Rule radically rewrites longstanding rules governing ABAWD waivers

and exemptions based on unsupported justifications contradicted by the evidence and in disregard

of significant burdens to states and individuals. USDA attempts to justify the Rule’s overly narrow

criteria by asserting that states “manipulated” the prior criteria to obtain “questionable” waivers

and that states’ accumulation of unused discretionary exemptions was an “unintended”



9
 USDA has acknowledged as much not only in the Rule (84 Fed. Reg. at 66,802) but also in
other publications. For example, in fiscal year 2019, USDA described the agency’s prior
“unlimited carryover and accumulation” approach and listed each State’s outstanding exemption
balance. https://fns-prod.azureedge.net/sites/default/files/SNAP-ABAWD-Percentage-
Exemption-Totals-FY2019.pdf.


                                                 23
         Case 1:20-cv-00119-BAH         Document 65        Filed 06/24/20      Page 38 of 62




consequence of the Statute. 84 Fed. Reg. at 66783. The administrative record does not support

these assertions.

          Moreover, USDA ignored evidence that the Rule’s new waiver criteria are poorly suited to

determining which areas lack sufficient jobs for ABAWDs, will greatly increase costs to states,

and will have a disparate impact on minorities. The agency similarly dismissed the negative impact

that the Rule’s removal of exemptions will have on states’ ability to effectively administer SNAP

in times of rapid economic downturn. Before the current economic crisis, USDA estimated that

688,000 people would lose access to critical SNAP benefits under the Rule. 84 Fed. Reg. at 66809.

Current evidence indicates that number could be much greater given the steep increase in

unemployment caused by the COVID-19 pandemic and the likelihood that unemployment will

persist, particularly for ABAWDs well after the public health emergency is lifted. 10 See Bolen

Supp. Decl. ⁋ 22; Fernández Supp. Decl. ⁋ 4; Rivera Supp. Decl. ⁋ 5; Zeilinger Supp. Decl. ⁋⁋ 4,

11. 11

          A.     The Rule’s Reduction of the Sufficient Jobs Inquiry to General
                 Unemployment Rates Is Arbitrary and Capricious.

          USDA’s decision to limit the “sufficient jobs” inquiry to an examination of an area’s 24-

month average unemployment rate and impose an unemployment rate floor is contradicted by both

the agency’s own prior factual findings and evidence provided by commenters that unemployment




11
   As set forth in the Court’s Order, P. I. Op. at 32-45, and for the reasons discussed herein, USDA’s
overly narrow interpretation of the sufficient jobs prong both fails under the Chevron analysis and
is arbitrary and capricious because it ignores “relevant factors” and amounts to “a clear error of
judgment.” State Farm, 463 U.S. at 43. Further, for the reasons discussed herein, the agency’s
flawed definition of “area” and reading of the statutory requirements for carryover exemptions fail
under both tests. As the Court has noted, “there is little distance between Chevron’s step two and
arbitrary and capricious review under the APA,” see P.I. Op. at 32-33 n. 13.


                                                 24
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 39 of 62




levels alone are not an adequate measure of sufficient jobs for ABAWDs. This Court previously

found that the Rule fails to provide valid reasons for drastically changing waiver standards in the

face of overwhelming contrary evidence and failed to respond meaningfully to commenters’

legitimate objections. See P.I. Op. at 29-45.

       For more than twenty years, USDA recognized the shortcomings of general unemployment

rates as a measure of job availability for ABAWDs, and the importance of other economic

indicators to this evaluation. In its 1996 guidance, USDA observed that “[t]he statute recognizes

that the unemployment rate alone is an imperfect measure of the employment prospects of

individuals with little work history and diminished opportunities,” and that states could thus use

other evidence to make that showing “in recognition of the challenges that low-skilled workers

may face in finding and keeping permanent employment.” ABAWD00000166. The USDA’s 1999

proposed rule likewise stated that “there are no standard data or methods to make the determination

of the sufficiency of jobs” for ABAWDs. ABAWD00000090. USDA’s 2001 rule made clear that

the agency interprets the “lack of sufficient jobs” inquiry as encompassing a broad range of metrics

and not exclusively tied to demonstrating high general unemployment. ABAWD00000123-24.

USDA maintained a consistent position in 2006 guidance, ABAWD00000212, and 2016 guidance,

ABAWD00000330-31.

       Commenters provided extensive evidence that doing away with USDA’s longstanding

waiver criteria in favor of a single, limited, and concededly imperfect measure, as the Rule does,

will prevent states from securing waivers for areas that lack sufficient jobs for ABAWDs. 12




12
  See, e.g., ABAWD00110124-93, ABAWD00168808-09, -168812; ABAWD00078131-32;
ABAWD00079165-69; ABAWD000168348-49; ABAWD00158908-13; ABAWD00167078-79;
ABAWD00084261-63; ABAWD00181824-34; ABAWD00068066-67; ABAWD00173990-92.


                                                25
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 40 of 62




According to USDA, “many” commenters presented evidence that general unemployment rates do

not reflect the reality of jobs for ABAWDs “because of factors affecting the availability of jobs to

ABAWDs that unemployment rates do not account for,” “such as criminal records, housing

instability, a lack of transportation, necessary skills or education, or of reliable, quality jobs.”

ABAWD00008234-35; 84 Fed. Reg. at 66785-86. Commenters identified other metrics of labor

market    conditions   that   could   better   demonstrate   insufficient   jobs   for   ABAWDs.

ABAWD00008235; 84 Fed. Reg. at 66788-89. The record also includes extensive evidence that

the unemployment rate on which the Rule relies underestimates the number of ABAWDs who are

unable to find work because this rate fails to account for the potentially numerous ABAWDs who

have stopped looking for employment because of their longstanding inability to find work,

ABAWD00008235, -8238, -8246, and that the 2-year average unemployment rate is

“insufficiently responsive to economic downturns,” ABAWD00008246. See also 84 Fed. Reg. at

66798. 13 As one commenter shrewdly summarized, USDA “avoided the statutory requirement of

measuring the availability of jobs to ABAWDs by using this metric.” ABAWD00008255.

         This Court found that USDA’s perfunctory rationale for the Rule’s new waiver standard

was merely a “few sentences of defective argument” that falls short of the reasoned explanation the

law requires. P.I. Op. at 30-32. The Rule acknowledges “that ABAWDs may face barriers to

employment and have more limited employment prospects than the general public due to low

educational attainment or other factors,” 84 Fed. Reg. at 66787, but maintains that the 2-year




13
  The economic disruption wrought by the COVID-19 pandemic provides a vivid illustration of
this point: in less than three months, general unemployment in many areas skyrocketed from the
low single digits to nearly 20 percent. The 24-month average unemployment rate thus wildly
understates current economic suffering and the difficulty of finding work. See Rivera Supp. Decl.
⁋ 5 (noting that unemployment rates in Michigan rose from 3.8% in January 2020 to 22.7% in
April 2020).


                                                26
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 41 of 62




unemployment rate and a 6 percent floor is the best standard by which to judge the availability of

jobs for ABAWDs. Id. at 66787. USDA’s circular statement is devoid of analysis beyond noting

that, absent the Rule, “a state could request and qualify for a waiver in areas with an unemployment

rate as low as of 4.7 percent.” Id. at 66787. USDA presents no evidence that an area with 4.7

percent general unemployment necessarily provides sufficient job opportunities for ABAWDs.

       USDA failed to “analyze or explain” why it rejected other previously accepted measures

of job availability for ABAWDs. Encino, 136 S. Ct. at 2127; see 84 Fed. Reg. at 66790-91. For

example, “[m]any commenters” “expressed opposition to the proposal to no longer allow

employment to population ratios that demonstrate economic weakness to qualify areas for

waivers.” ABAWD00008237. Commenters provided evidence that this metric can be reliably

calculated and shows a more accurate picture of the economic climate. ABAWD00008246.

Broadly, commenters showed that eliminating this criterion “would unduly limit the economic

factors considered in assessing an area’s eligibility for a waiver.” ABAWD00008237.

       Other commenters contended that “information about declining industries or occupations

should be retained as a criterion” to provide “appropriate flexibility for local labor conditions.”

ABAWD00008238. Commenters also “stated that academic studies and publications can often

provide a more accurate description of a region’s unemployment or can more accurately describe

job availability among the ABAWD population than unemployment rates.” 84 Fed. Reg. at 66791.

Commenters argued that excluding these criteria, along with the imposition of an unemployment

rate floor, results in an overreliance on unemployment rates that do not accurately capture

ABAWDs’ job prospects. Id. at 66790.

       USDA agrees that these criteria “can be used to help understand employment changes in

an area,” but summarily discounts these previously credited metrics as “less reliable and consistent




                                                27
      Case 1:20-cv-00119-BAH            Document 65         Filed 06/24/20      Page 42 of 62




than standard unemployment data” based on USDA’s “operational experience.” Id. at 66791.

USDA never provides its basis for determining that these metrics are “less reliable and consistent”

evidence of local labor markets or why this information cannot be used in combination with other

metrics to demonstrate a lack of sufficient jobs. USDA fails to justify this departure from past

practice. See P.I. Op. at 31-32.

       USDA cannot arbitrarily prioritize its purported desire to rely on standardized or

“consistent” data over answering the Statute’s mandated inquiry. State Farm, 463 U.S. at 43

(reliance on nonstatutory factors “which Congress has not intended it to consider” constitutes

arbitrary and capricious action); Gresham v. Azar, 950 F.3d 93, 104 (D.C. Cir. 2020) (agency

arbitrarily “prioritize[d] non-statutory objectives to the exclusion of the statutory purpose”); see

also Good Fortune Shipping SA v. Comm'r of IRS., 897 F.3d 256, 262 (D.C. Cir. 2018) (finding

that IRS could not “categorically deny consideration of a recognized form of ownership based on

only a single, undeveloped statement that it is ‘difficult[ ]’ to reliably track the location of a given

owner”). USDA never supports its conclusion that the unemployment figures are a more reliable—

or even a reliable—indicator of sufficient jobs for ABAWDs in the area where they reside. Nor

does the record provide any basis for this unexplained assumption. Absent a substantive reason

why the unemployment rate alone best captures ABAWDS’ job prospects, the Rule is arbitrary

and capricious.

       B.      The Rule’s Elimination of the Extended Unemployment Benefits
               Qualification Standard Is Arbitrary and Capricious.

       In addition to being procedurally unlawful, USDA’s decision to eliminate receipt of

extended unemployment benefits as a basis for waiver is unreasoned. USDA’s only justification

for its summary about-face on this criterion is that “qualification for extended unemployment

benefits is designated only at the state level, not at the LMA level.” 84 Fed. Reg. at 66790. USDA



                                                  28
      Case 1:20-cv-00119-BAH          Document 65       Filed 06/24/20      Page 43 of 62




invoked “concern[s]” that “the extended unemployment benefits criterion would allow States to

receive statewide waivers even when there is not a lack of sufficient jobs within certain areas of

the State.” Id. USDA provides no evidence or other analysis for its newfound concerns that this

criterion—which USDA described in the Proposed Rule as a “clear indicator” of labor market

distress—was likely to result in waivers in areas with sufficient jobs for ABAWDs. 84 Fed. Reg.

at 985.14

        The importance of this criterion has been brought into stark relief by the COVID-19

pandemic: currently, 48 states and the District of Columbia qualify for a waiver under this

criterion. Bolen Supp. Decl. ⁋ 14. But some of these states would not qualify for a waiver under

the Rule because an area’s unemployment rate must be both over 6 percent AND 20 percent above

the national average. Id. ⁋ 17. Accordingly, an area with 9 percent unemployment would not

qualify if the national average unemployment rate was 8 percent. Id.

        Moreover, USDA’s supposed reservations about a statewide waiver under this criterion

failing to narrowly target areas that lack sufficient jobs is incongruous with USDA’s decision to

grant waivers only for entire LMAs, areas that often encompass much larger areas across multiple

state boundaries. Such incongruity is a hallmark of arbitrary decision-making. ANR Storage Co. v.

FERC, 904 F.3d 1020, 1024 (D.C. Cir. 2018) (stating that an agency’s “reasoning cannot be

internally inconsistent”) (citing Sierra Club v. EPA, 884 F.3d 1185, 1194-96 (D.C. Cir. 2018));

see P.I. Op. at 31 n. 12.

        C.      The Rule’s Restrictions on Waiver Area Are Arbitrary and Capricious.

        The Rule’s redefinition of “area,” 84 Fed. Reg. 66793-97, is arbitrary and capricious.




14
  Notably, some commenters submitted evidence that this standard is already set too high to
provide appropriate relief to states facing high unemployment. See, e.g., ABAWD00079168.


                                               29
      Case 1:20-cv-00119-BAH          Document 65        Filed 06/24/20      Page 44 of 62




USDA fails to offer a reasoned explanation for abandoning factual findings and longstanding

regulation supporting states’ superior knowledge of local labor conditions and permitting states

flexibility to define “areas” that lack sufficient jobs for ABAWDs. Fox Television Stations, Inc.,

556 U.S. at 515 (requiring “good reasons” for changing course and discounting prior findings).

USDA failed to satisfactorily respond to comments showing that LMAs do not accurately capture

the ABAWD experience. P.I. Op. at 36-45.

       USDA previously found that less flexible definitions of “area” diminish the ability of states

to evaluate and respond to local economic realities. In 1996 guidance, USDA acknowledged that

states should have “broad discretion in defining areas that best reflect the labor market prospects

of program participants and State administrative needs” and that “to some extent, the decision to

approve waivers based on an insufficient number of jobs must be made on an area-by-area basis.”

ABAWD00000166, -168. USDA’s 1999 proposed rule expressed that states should request

waivers for substate areas because statewide unemployment averages may “mask slack job

markets in some counties, cities, or towns.” ABAWD00000089. USDA reiterated this need for

state discretion in the 2001 rule, which made clear that “State agencies have complete discretion

to define the geographic areas covered by waivers so long as they provide data for the

corresponding area.” ABAWD00000124. In 2006, USDA reaffirmed that states have discretion to

define the areas for waiver requests. ABAWD00000212. In 2016, USDA observed that “the state

can request that a waiver apply statewide or at the sub-state level, as statewide averages may mask

slack job markets in some counties, cities, or towns,” and recognized that the “economic regions”

could include non-contiguous areas defined by shared industries or other factors.

ABAWD00000316-17 -324.

       Commenters expressed opposition to the proposed restrictions on grouping areas for waiver




                                                30
      Case 1:20-cv-00119-BAH             Document 65     Filed 06/24/20      Page 45 of 62




applications, ABAWD00008239, and “[m]ost” argued that states should retain the flexibility in

administering SNAP that was provided for under USDA’s past policies. ABAWD00008225; 84

Fed. Reg. at 66793.15 Commenters observed that states have more detailed knowledge of local job

markets and challenges faced by ABAWDs and are better suited to identify the most appropriate

grouping areas for a waiver application. ABAWD00008239-43. They pointed out that states have

properly exercised discretion to identify areas for waiver requests for decades under USDA’s

longstanding policies, and that USDA “fails to identify the data and evidence that justify the . . .

use of    one narrow,      inflexible,   federally prescribed    method    for   grouping    areas.”

ABAWD00008240. Commenters also observed that USDA had provided insufficient evidence of

states abusing waivers to justify the strict area definition which admittedly failed to capture

ABAWD job prospects. ABAWD00008240, -8255.

       The Rule arbitrarily rejects longstanding policy, prior findings, and commenters’ evidence.

USDA’s only justification for its strict “area” definition is supposed “operational experience” that

“States are grouping areas in such a way to maximize waived areas” and that the “problem” of

strategic grouping “outweighs” arguments for state flexibility. 84 Fed. Reg. at 66794. USDA

rationalizes its reversal by accusing states of “manipulat[ing]” the waiver process to “maximize”

the number of ABAWDs subject to a waiver. Id. This Court has already found that the agency “has

provided no evidence” that such state manipulation is “a real problem.” P.I. Op. at 37; see Nat’l

Fuel Gas Supply Corp. v. FERC, 468 F.3d 831, 843 (D.C. Cir. 2006) (“Professing that an” agency

action “ameliorates a real . . . problem but then citing no evidence demonstrating that there is in

fact a[] . . . problem is not reasoned decisionmaking.”). There is no basis to conclude otherwise




15
   See, e.g., ABAWD00110192-202; ABAWD00168809-10;                         ABAWD00078132-33;
ABAWD00079169-70; ABAWD000168348-49; ABAWD00167079.


                                                31
      Case 1:20-cv-00119-BAH          Document 65        Filed 06/24/20     Page 46 of 62




now. Indeed, USDA does not show that any prior waiver requests actually resulted in waivers for

ABAWDs that had sufficient job opportunities, or that the agency denied any prior waiver request

because it failed to adequately substantiate a lack of sufficient jobs for ABAWDs.

       As the Court previously found, USDA’s assertion that “about half” of ABAWDs live in

waived areas is no indicator of manipulation because ABAWDs outside of waived areas who

cannot meet the work requirements lose their benefits after three months, and USDA’s analysis

failed to account for these individuals. P.I. Op. at 38. USDA asserted that states had “grouped

nearly all contiguous counties in the State together while omitting a few counties with relatively

low unemployment,” and “grouped certain towns together that share the same economic region

while omitting others with relatively low unemployment from the group.” 84 Fed. Reg. at 66794.

The Court correctly found that these observations were entirely consistent with a good faith effort

to seek a waiver only for areas where jobs for ABAWDs are scarce. P.I. Op. at 39-43.

       Commenters explained that issues like cost of living, commuter patterns, availability of

employment and training services, and whether areas share similar employment opportunities

could explain why states seek waivers for some areas and not others. ABAWD00008242. The Rule

fails to engage with any of these alternative explanations for the purported “problem” and does not

acknowledge past USDA guidance that encouraged states to explore methods for grouping areas.

P.I. Op. at 40-41. Even if some states sought to “maximize” waivers, USDA never explains how

these examples reflect “gerrymandering” or establish that sufficient jobs for ABAWDs were

available in these areas. Nor is there any evidence that USDA ever took steps to address any such

issue where it purportedly arose—such as by notifying the state in question, seeking a modified

waiver application, or denying an application in whole or in part. Dep't of Homeland Sec. v.

Regents of the Univ. of California, No. 18-587, 2020 WL 3271746, at *14 (U.S. June 18, 2020)




                                                32
      Case 1:20-cv-00119-BAH            Document 65        Filed 06/24/20     Page 47 of 62




(failure to consider alternative “‘within the ambit of the existing’ [policy]” rendered agency rule

arbitrary and capricious) (citing State Farm, 463 U.S. at 51); P.I. Op. at 3 (agency rule is unlawful

unless the agency has “weighed the consequences of its actions”). As the Court noted, “That

history is another sign that USDA’s new policy eliminating state discretion in designing waiver

areas is a solution in search of a problem.” P.I. Op. at 43.

       USDA compounded its arbitrary area restriction by rejecting several waiver criteria

because they do not align with LMA boundaries. USDA rejected evidence that the “U–6

unemployment rate may better reflect the unemployment situation for ABAWDs” on the grounds

that “this measure … is not available at the substate level.” 84 Fed. Reg. at 66789. The agency

similarly eliminated the long-established LSA designation criteria because it applies statewide,

rather than LMA-wide. In both instances, USDA’s reasoning is arbitrary because the agency failed

to engage with the statutory question (whether areas lack sufficient jobs for ABAWDs) and instead

relied on its self-imposed LMA limit—a limit not calibrated to capture factors influencing

ABAWDs’ job prospects.

       USDA neglected to “respond meaningfully” to the evidence that LMAs do not

appropriately reflect job availability for ABAWDs, Tesoro Alaska Petroleum Co. v. FERC, 234

F.3d 1286, 1294 (D.C. Cir. 2000), noting only that “LMAs remain the best available and most

appropriate delineation to address the issue of grouping, as there are no Federally-designated areas

that specifically assess commuting patterns and other related economic factors for ABAWDs.” 84

Fed. Reg. at 66793.16

       The Rule replaces an informed, tailored approach to defining waivable “areas” with a one-




16
   See, e.g., ABAWD00110203-10; ABAWD00168810-11;                           ABAWD00078132-33;
ABAWD00079169-70; ABAWD00070511; ABAWD00182272-73.


                                                 33
      Case 1:20-cv-00119-BAH            Document 65        Filed 06/24/20        Page 48 of 62




size-fits-all definition that has little to do with ABAWDs’ job prospects. Numerous commenters

provided evidence that “LMAs are based on commuting patterns of the general workforce” and

thus cannot capture available employment for “low-income, low-skilled ABAWDs who lack

affordable transportation options.” 84 Fed. Reg. at 66793. Commenters also provided evidence

that “local nuances” in work opportunities—such as the types of jobs available, the kinds of skills

needed, whether affordable transportation options are available, and even job losses in neighboring

areas—counseled against reliance on rigid and “overly narrow” LMAs. ABAWD00008242.

       In light of this mismatch, commenters argued that LMAs would hamper states’ ability to

target waivers to specific areas, like a single city, town, or county—or, in some cases, an entire

state—based on the area’s particular conditions. ABAWD00008239-40, 42. Commenters noted

that LMAs are problematic when applied to assess waivers for both “rural States” and “urban

areas,” and suggested other metrics for evaluating labor market conditions within a local area and

grouping    substate   areas   for   waivers,   ABAWD00008239,          -8241,    -8243;   see,   e.g.,

ABAWD00110318-28.

       “Nodding to concerns raised by commenters only to dismiss them in a conclusory manner

is not a hallmark of reasoned decisionmaking.” Gresham, 950 F.3d at 103 (citations omitted). As

this Court observed, two examples highlighted at oral argument underscore the shortcomings of

LMAs to appropriately target waivers: New York City and Washington, D.C. Both cities are part

of large LMAs that include counties in adjacent states that are considerable distances from the city.

P.I. Op. at 43-45. There is no reasonable way for residents of these cities to travel to far-flung jobs

in neighboring states that are inaccessible by public transportation. It is irrational to conclude that

when Congress asked whether there are sufficient jobs to provide employment for an ABAWD

who resides in New York City or Washington, D.C., Congress intended USDA to look to a




                                                  34
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 49 of 62




statistical area covering parts of Pennsylvania or West Virginia, respectively. Bostock, 2020 WL

3146686, at *6.

       D.      USDA’s Decision to Limit Carryover of Unused Exemptions Is Arbitrary and
               Capricious.

       USDA’s plan to remove exemption balances from states in October 2020, and yearly

thereafter, relies on deeply flawed reasoning. Most of the 50 states will lose accumulated

exemptions. P.I. Op. at 19. Yet USDA does not offer a “good reason” for undermining states’

significant reliance interests, and it summarily discounts numerous comments stressing the

irrational consequences of limiting accumulation of these exemptions.

       Congress provided for exemptions to give states a tool to mitigate the impact of the time

limit on ABAWDs and more nimbly provide for their residents in times of swift economic

downturn. USDA’s longstanding policy permitting indefinite carryover of these exemptions best

effectuated this purpose by enabling states to save their exemptions in times of economic well-

being and use them in times of economic instability. This policy created a reliance interest whereby

states relied on their “banks” of these exemptions to weather rapid changes in economic

circumstances, like loss of a major employer or a national pandemic, by quickly and temporarily

addressing increased needs of SNAP recipients while working on longer-term solutions. See

Buhrig Decl. ⁋ 17, ECF No. 3-4; Fernandez Decl. ⁋⁋ 21-22, ECF No. 3-5; Neira Decl. ⁋ 12, ECF

No. 3-16.

       The impact of the Rule on these reliance interests is amply set forth in hundreds of

comments. ABAWD00008249-50. 17 Many commenters argued that the carryover of exemptions




17
   See,  e.g.,   ABAWD00110252-258; ABAWD00078133;                             ABAWD00079170;
ABAWD00070512; ABAWD000168350; ABAWD00167080.


                                                35
      Case 1:20-cv-00119-BAH           Document 65        Filed 06/24/20      Page 50 of 62




provides states flexibility to respond to unexpected economic crises, such as the current pandemic.

Id. Other commenters argued that a one-year limitation on accumulation of exemptions creates the

perverse incentive to use exemptions in relatively good economic times instead of tailoring

exemptions to where they are needed. Id. Finally, commenters provided that states who have

accumulated exemptions should not be punished for conservative use of their exemptions.

ABAWD00008250.

       The current public health and economic crises caused by the COVID-19 pandemic

underscore the importance of these exemptions and the agility they give states to address needs for

vital food assistance in the face of rapid economic downturn. The crisis triggered an unprecedented

rise in unemployment and economic instability as the nation effectively shut down. Parts of the

country today are only “reopening” in fits and starts, see Buhrig Supp. Decl. ⁋ 8, and certain places

where reopening has proceeded are seeing spikes in new cases of infection. Despite the speed with

which the impacts were felt, the economic crisis threatens to continue for an extended period of

time. See Rivera Supp. Decl. ⁋ 5. States need all reasonable flexibility under the Statute to best

address this crisis and ensure that the maximum number of their struggling residents can eat. See

Bolen Supp. Decl. ⁋ 13 (estimating only 9-10 percent of counties would qualify for waiver under

final Rule during current pandemic, but 97 percent of counties would qualify under current

regulations); Fernández Supp. Decl. ⁋ 12 (explaining that current areas of high unemployment

would not qualify for waiver under final Rule); Buhrig Supp. Decl. ⁋⁋ 7, 11, 13-14; Rivera Supp.

Decl. ⁋ 8; Zeilinger Supp. Decl. ⁋⁋ 6-7.

       Several commenters elaborated on the impacts of the Rule on specific states. For example,

commenters explained that some states accumulate exemptions to provide flexibility as they begin

implementing the ABAWD time limit. ABAWD00008250. Commenters also argued that




                                                 36
      Case 1:20-cv-00119-BAH            Document 65       Filed 06/24/20      Page 51 of 62




discretionary exemptions should not be restricted “because they can be a lifeline for some of the

most vulnerable recipients,” including former foster children, domestic violence survivors,

formerly incarcerated individuals, people who are looking for work or are in low-paid jobs with

unpredictable hours, people who cannot work, and people who work the number of hours required

but have difficulty reporting it. Id. Some of these commenters recommended that, at the very least,

all exemptions earned prior to the finalization of this Rule should be permanently available for

states to use moving forward. ABAWD00008251-52.

       USDA’s response to these comments was limited to a conclusory and flawed claim that the

Rule was more consistent than prior practice with the statute. USDA asserts that removing states’

accumulated balances hews to Congress’s decision to limit the number of exemptions available to

states in a given fiscal year by sections 6(o)(6)(C), (D), and (E) of the statute. 84 Fed. Reg. at

66802. But nothing in these sections is incompatible with the decision to permit carryover. To the

contrary, the statute’s plain language supports the states’ position, and, beyond merely referring to

the statute’s subparagraphs as “limit[s],” the agency does not provide any good reason for its

newfound construction of the statute. See supra Section II(C). The notion that Congress intended

some “limit” does not negate or alter that Congress also intended carryover. It is unreasonable for

USDA to conclude that because the statute contains some limits that the carryover provision should

now be substantially curtailed—particularly when Congress has recently concluded just the

opposite. Conference Report at 616 (noting, in conjunction with reduction of percentage, that

“States will … continue to accrue exemptions and retain any carryover exemptions from previous

years, consistent with current law”).

       E.      The Rule Fails to Consider the Cost and Disparate Impact of the Rule.

       The Rule also is arbitrary and capricious because it ignores evidence of the Rule’s

significant impacts on state governments and protected groups. See State Farm, 463 U.S. at 43;


                                                 37
      Case 1:20-cv-00119-BAH           Document 65         Filed 06/24/20      Page 52 of 62




Nat. Res. Def. Council, Inc. v. Rauch, 244 F. Supp. 3d 66, 97 (D.D.C. 2017). “[A]gencies have

long treated cost as a centrally relevant factor when deciding whether to regulate.” Michigan v.

EPA, 135 S. Ct. 2699, 2707 (2015). The Supreme Court has recognized that “[c]onsideration of

cost reflects the understanding that reasonable regulation ordinarily requires paying attention to

the advantages and the disadvantages of agency decisions.” Id. at 2707. And “when an agency

decides to rely on a cost-benefit analysis as part of its rulemaking, a serious flaw undermining that

analysis can render the rule unreasonable.” Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032,

1040 (D.C. Cir. 2012). The Rule upends a regulatory scheme without justification for the high

costs it will impose on states and minorities, who are disparately impacted by the changes.

        USDA’s cost analysis overlooks many demonstrable costs, rendering the rule

unreasonable. See City of Portland v. EPA, 507 F.3d 706, 713 (D.C. Cir. 2007) (noting that “we

will [not] tolerate rules based on arbitrary and capricious cost-benefit analyses”). In its Regulatory

Impact Analysis, USDA claimed that the “proposed regulation is not expected to result in any

additional administrative costs” for states. ABAWD00000452. USDA walked back this statement

in the final Rule, claiming that the Rule will result in a “small increase” of $1.4 million in “State

costs related to the administrative burden for verifying work hours and exemptions and sending

notices.” 84 Fed. Reg. at 66807. The agency does not explain the basis for either projection, which

both stand in stark contrast to state estimates. See, e.g., Zeilinger Decl. ⁋ 13, ECF No. 3-19

(estimating an increase in annual costs of hundreds of thousands of dollars for the District alone).

       USDA was on notice that its cost analysis was defective and failed to adequately address

the concerns. ABAWD00008257-60. The agency’s cost analysis considers only the immediate

costs to the states of increased monitoring and notice requirements, but commenters identified (and




                                                 38
      Case 1:20-cv-00119-BAH          Document 65       Filed 06/24/20      Page 53 of 62




in some instances quantified) many other foreseeable costs of the Rule.18 These include, for

example:

       •   The cost to amplify current state programs to accommodate the increased number
           of ABAWDs subject to the time limit. Commenters explained that the Rule will
           impose significant costs on states in the form of heavier burdens on Employment and
           Training programs and the need for additional resources to develop policy, retain and
           train staff, and implement IT measures. Commenters also noted the need for additional
           personnel to respond to an increase in fair hearing requests. ABAWD00008257-58. 19

       •   Increased poverty and hunger. Commenters explained that, because ABAWDs who
           lack access to jobs will be ineligible for SNAP benefits under the Rule, the Rule will
           result in increased hunger and poverty, and a greater burden on states to mitigate food
           insecurity and its impacts. ABAWD00008258-59.

       •   Health care costs. Commenters highlighted significant increases in health care costs
           as a direct result of the increased food insecurity caused by the Rule. The negative
           impact on public health largely will be borne by states in the form of increased
           Medicaid and uncompensated care costs. ABAWD00008259-60.

       •   The impact on economic activity of cutting SNAP benefits. “Many commenters …
           highlighted the economic impact the proposed rule would have, stating that every $1
           in federal SNAP benefits generates $1.79 in economic activity,” and provided evidence
           that the proposed rule would significantly reduce economic activity in a number of
           states, including negative impacts on local small businesses in particular.
           ABAWD00008257-58. Commenters also assessed the indirect impact of reduced
           SNAP benefits on employment. ABAWD00008258.

       USDA gave no weight to the exorbitant costs resulting from these “second order impacts”

in its analysis of the Rule. ABAWD00008260. USDA cannot selectively ignore costs that

foreseeably flow from its rulemaking to justify its preferred results. See Council of Parent

Attorneys & Advocates, Inc. v. DeVos, 365 F. Supp. 3d 28, 53 (D.D.C. 2019) (finding delay

regulation was arbitrary and capricious where Department of Education failed to consider costs to



18
     See, e.g., ABAWD00110316-317; ABAWD00168812-14; ABAWD00078135-36;
ABAWD00079151-52; ABAWD000168358-59; ABAWD00173986-89.
19
   See Buhrig Decl. ⁋ 16, ECF No. 3-4; Zeilinger Decl. ⁋ 15, ECF No. 3-19; Storen Decl. ⁋ 12,
ECF No. 3-17; Banks Decl. ⁋ 34, ECF No. 3-1; Gifford Decl. ⁋⁋ 20, 24, ECF No. 3-9; Fernandez
Decl. ⁋ 72, ECF No. 3-5.


                                               39
      Case 1:20-cv-00119-BAH           Document 65       Filed 06/24/20      Page 54 of 62




states and interested stakeholders), appeal dismissed, No. 19-5137, 2019 WL 4565514 (D.C. Cir.

Sept. 18, 2019); Sec. Indus. & Fin. Markets Ass’n v. CFTC., 67 F. Supp. 3d 373, 430-33 (D.D.C.

2014) (CFTC’s failure to consider or evaluate costs of extraterritorial application of Rule rendered

rule arbitrary and capricious). USDA’s failure to assess reasonable costs renders the Rule arbitrary

and capricious. See Bus. Roundtable v. SEC., 647 F.3d 1144, 1152 (D.C. Cir. 2011).

       Finally, while USDA concedes that the Rule has “the potential for impacting protected

groups due to factors affecting rates of employment of members of these groups,” 84 Fed. Reg. at

66808, it fails to adequately consider the impact of the Rule on minorities, or to meaningfully

respond to numerous comments urging USDA to analyze such effects. 20

       USDA’s Civil Rights Impact Analysis (“CRIA”) states that “[s]pecific race, ethnicity, and

gender data regarding the ABAWDs that will be impacted are not available” but that

“implementation of the final rule may impact African Americans and Hispanic groups at a higher

rate due to factors more strongly associated with potential program users in these minority groups.”

ABAWD00000358; 84 Fed. Reg. 66808. USDA’s claim that it lacked data is dubious because it

received numerous comments from various organizations regarding the Rule’s impact on

communities of color, the LGBTQ community, the disabled community, immigrants, women, the

elderly, those afflicted with HIV/AIDS, those with criminal records, victims of domestic abuse,

veterans, and Native Americans. ABAWD00008263-66. As just one example, an elected official

provided evidence that more than half of ABAWDs come from communities of color, and other

commenters provided empirical data that the Rule will not accurately evaluate the availability of




20
  See ABAWD00008263-66; see, e.g., ABAWD00110318-328; ABAWD00168814-16;
ABAWD00078130-31; ABAWD00078136; ABAWD00079153-163; ABAWD00079170;
ABAWD000168350-58; ABAWD00168373-74.


                                                40
      Case 1:20-cv-00119-BAH              Document 65      Filed 06/24/20     Page 55 of 62




jobs for ABAWDs who are minorities because the general unemployment rate does not account

for   barriers   to   consistent,   gainful   employment     faced   by     minority   communities.

ABAWD00008235, -8264. USDA fails to offer a reasoned response to evidence that its new

standards are poorly calibrated to evaluate the availability of jobs for these communities (and

others) who make up a substantial portion of ABAWDs.

       Even if it were true that USDA lacked adequate data to evaluate this issue, an agency

cannot simply ignore impacts it deems too difficult to calculate. ConocoPhillips Co. v. EPA, 612

F.3d 822, 840 (5th Cir. 2010) (“Given the admitted information shortage, the EPA must make use

of the information it has …; EPA cannot refuse to carry out its mandate, waiting for the day when

it might possess perfect information.”). USDA’s conclusory statements cannot meet the agency’s

burden to consider the Rule’s impact on protected groups. Ass’n of Private Sector Colleges &

Univs., 681 F.3d at 448-49 (agency decision arbitrary under the APA where agency failed to

meaningfully address comments regarding impact on minorities); AT&T Wireless Servs. Inc. v.

FCC, 270 F. 3d 959, 968 (D.C. Cir. 2001) (“Conclusory explanations for matters involving a

central factual dispute where there is considerable evidence in conflict do not suffice to meet the

deferential standards of our review.”).

       PLAINTIFFS HAVE STANDING TO CHALLENGE THE RULE.
       To show standing, a “plaintiff must have (1) suffered an injury in fact, (2) that is fairly

traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). The Court has

already found that the Rule is likely to impose significant harm on Plaintiffs and that enjoining the

Rule is likely to ameliorate that harm. P.I. Op. at 46-56. No more is required to establish standing.

       In particular, unless the Rule is vacated, Plaintiffs will suffer three independent injuries

traceable to the rule and redressable by the requested relief: (1) the Rule will increase the


                                                 41
      Case 1:20-cv-00119-BAH            Document 65         Filed 06/24/20    Page 56 of 62




administrative burden on state-operated programs; 21 (2) Plaintiffs’ health care costs will rise

because the Rule puts the states’ residents at greater risk of adverse health impacts, and the states

pay health care costs for some of those residents; 22 and (3) the states will lose tax revenue and

suffer other direct economic injuries as a result of the Rule. 23

       As this Court previously recognized, USDA’s own analysis confirms these injuries. P.I.

Op. at 53-54 (citation omitted). These harms—particularly when confirmed by the agency’s own

analysis—establish injury-in-fact for standing purposes. See, e.g., Air Alliance Houston v. EPA,

906 F.3d 1049, 1059 (D.C. Cir. 2018). Plaintiffs’ injuries are traceable to the challenged provisions

of the Rule, and a favorable decision would redress those injuries. New York v. U.S. Dep’t of Labor,

363 F. Supp. 3d 109, 127 (D.D.C. 2019).

                                            CONCLUSION
       For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion

for summary judgment.




21
   See, e.g., Brown Decl. ⁋ 10, ECF No. 3-3; Buhrig Decl. ⁋⁋ 13, 16, ECF No. 3-4; Fernandez Decl.
⁋⁋ 46, 49-52, 69, ECF No. 3-5; Fisher Decl. ⁋⁋ 9, 10 ECF No. 3-6; Gifford Decl. ⁋⁋ 20-24, ECF
No. 3-9; Haun Decl. ⁋⁋ 18-19, ECF No. 3-11; Mangini Decl. ⁋ 10. ECF No. 3-14; Neira Decl. ⁋ 10,
ECF No. 3-16; Storen Decl. ⁋ 23, ECF No. 3-17; Sweeney Decl. ⁋⁋ 5, 15, ECF No. 3-18; Zeilinger
Decl. ⁋ 13, ECF No. 3-19.
22
   See, e.g., Brown Decl. ⁋ 11, ECF No. 3-3; Hartline-Grafton Decl. ⁋⁋ 6-12, ECF No. 3-10.
23
   See, e.g., Banks Decl. ⁋⁋ 28-30, ECF No. 3-1; Buhrig Decl. ⁋ 21, ECF No. 3-4; Fernandez Decl.
⁋ 73, ECF No. 3-5; Freishtat Decl. ⁋⁋ 14-16, ECF No. 3-7; Gifford Decl. ⁋ 16, ECF No. 3-9; Haun
Decl. ⁋⁋ 24-25, ECF No. 3-11; Lazere Decl. ⁋⁋ 17-19, ECF No. 3-13; Zeilinger Decl. ⁋ 21, ECF
No. 3-19.


                                                  42
     Case 1:20-cv-00119-BAH       Document 65        Filed 06/24/20      Page 57 of 62




Dated: June 24, 2020                           Respectfully submitted,


 KARL A. RACINE                            LETITIA JAMES
 Attorney General                          Attorney General
 District of Columbia                      State of New York

 /s/ Kathleen Konopka                      /s/ Eric R. Haren
 Kathleen Konopka (D.C. Bar No. 495257)    Eric R. Haren (D.C. Bar No. 985189)
 Deputy Attorney General                   Special Counsel

 Jennifer Rimm (D.C. Bar No. 1019209)      Matthew Colangelo (D.C. Bar No. 997893)
 Vikram Swaruup                            Chief Counsel for Federal Initiatives
 Nicole Hill (D.C. Bar No. 888324938)
 David Brunfeld (D.C. Bar No. 1672059)     Office of the New York State Attorney
 Assistant Attorneys General               General
                                           28 Liberty Street
 Office of the Attorney General            New York, NY 10005
 for the District of Columbia              Phone: 212-416-8804
 441 4th St., N.W.                         Eric.Haren@ag.ny.gov
 Suite 630S
 Washington, DC 20001
 Phone: 202-724-6610
 Fax: 202-741-0444
 Kathleen.Konopka@dc.gov




                                          43
     Case 1:20-cv-00119-BAH          Document 65     Filed 06/24/20      Page 58 of 62




XAVIER BECERRA                                 PHILIP J. WEISER
Attorney General                               Attorney General
State of California                            State of Colorado

Cheryl L. Feiner                               /s/ Eric R. Olson
Michael L. Newman                              Eric R. Olson
Senior Assistant Attorneys General             Solicitor General

/s/ Dane Barca                                 Office of the Colorado Attorney General
Dane Barca                                     1300 Broadway, 10th Floor
Jacquelyn Young                                Denver, CO 80203
Deputy Attorney General                        Phone: 720-508-6000
                                               eric.olson@coag.gov
Office of the Attorney General
455 Golden Gate Avenue, 11th Floor
San Francisco, CA 94102
Phone: 415-510-3371
Dane.Barca@doj.ca.gov


WILLIAM TONG                                   CLARE E. CONNORS
Attorney General                               Attorney General
State of Connecticut                           State of Hawaii

/s/ Joshua Perry                               /s/ Melissa L. Lewis
Joshua Perry                                   Melissa L. Lewis
Special Counsel for Civil Rights               Deputy Attorney General

State of Connecticut Office of the Attorney    Department of the Attorney General
General                                        465 S. King St., Rm. 200
165 Capitol Avenue                             Honolulu, HI 96813
Hartford, CT 06106                             Phone: (808)587-3050
Phone: 860-808-5318                            Meissa.L.Lewis@hawaii.gov
Fax: 860-808-5387
Joshua.Perry@ct.gov




                                              44
    Case 1:20-cv-00119-BAH       Document 65   Filed 06/24/20      Page 59 of 62




KWAME RAOUL                              AARON M. FREY
Attorney General                         Attorney General
State of Illinois                        State of Maine

/s/ Elizabeth Roberson-Young             /s/ Susan P. Herman
Elizabeth Roberson-Young                 SUSAN P. HERMAN
Public Interest Counsel                  Deputy Attorney General

100 W. Randolph St., 12th Fl.            6 State House Station
Chicago, IL 60601                        Augusta, Maine 04333-0006
Phone: (312) 814-5028                    Phone: (207) 626-8814
ERobersonYoung@atg.state.il.us           Email: susan.herman@maine.gov


BRIAN E. FROSH                           MAURA HEALEY
Attorney General                         Attorney General
State of Maryland                        Commonwealth of Massachusetts

Steven M. Sullivan                       /s/ Angela Brooks
Solicitor General                        Angela Brooks
                                         Widmaier Charles
/s/ Jeffrey P. Dunlap                    Assistant Attorneys General
Jeffrey P. Dunlap
Assistant Attorney General               One Ashburton Place
                                         Boston, MA 02108
200 St. Paul Place                       Telephone: (617) 963-2590
Baltimore, MD 21202                      Email: Angela.Brooks@mass.gov
Phone: 410-576-7906
Fax: 410-576-6955
jdunlap@oag.state.md.us




                                          45
     Case 1:20-cv-00119-BAH        Document 65   Filed 06/24/20    Page 60 of 62




DANA NESSEL                                KEITH ELLISON
Attorney General                           Attorney General
State of Michigan                          State of Minnesota

Fadwa A. Hammoud                           /s/ Ali P. Afsharjavan
Solicitor General                          Ali P. Afsharjavan
                                           Assistant Attorney General
/s/ Toni L. Harris
Toni L. Harris                             445 Minnesota Street, Suite 1400
First Assistant Attorney General           St. Paul, Minnesota 55101-2131
                                           Phone: 651-757-1059
Michigan Department of Attorney General    Fax: 651-282-5832
P.O. Box 30758                             ali.afsharjavan@ag.state.mn.us
Lansing, MI 48909
Phone: 517-335-7603
HarrisT19@michigan.gov


AARON D. FORD                              GURBIR S. GREWAL
Attorney General                           Attorney General
State of Nevada                            State of New Jersey

/s/ Heidi Parry Stern                      /s/ Mayur P. Saxena
Heidi Parry Stern                          Mayur P. Saxena
Solicitor General                          Assistant Attorney General
                                           Marie Soueid
Office of the Nevada Attorney General      Deputy Attorney General
555 E. Washington Ave., Ste. 3900
Las Vegas, NV 89101                        New Jersey Attorney General’s Office
HStern@ag.nv.gov                           Richard J. Hughes Justice Complex
                                           25 Market Street
                                           Trenton, NJ 08625
                                           Phone: (973) 648-3283
                                           Mayur.Saxena@law.njoag.gov




                                            46
    Case 1:20-cv-00119-BAH         Document 65      Filed 06/24/20     Page 61 of 62




HECTOR BALDERAS                               ELLEN F. ROSENBLUM
Attorney General                              Attorney General
State of New Mexico                           State of Oregon

/s/ Tania Maestas                             /s/ Elleanor H. Chin
Tania Maestas                                 Elleanor H. Chin
Chief Deputy Attorney General                 Senior Assistant Attorney General

PO Drawer 1508                                Department of Justice
Santa Fe, New Mexico 87504-1508               1162 Court Street NE
Phone: 505-490-4060                           Salem, OR 97301-4096
tmaestas@nmag.gov                             Phone: 503-947-4700
                                              Fax: 503-947-4791
                                              elleanor.chin@doj.state.or.us


JOSH SHAPIRO                                  PETER F. NERONHA
Attorney General                              Attorney General
Commonwealth of Pennsylvania                  State of Rhode Island

                                              /s/ Adam D. Roach
/s/ Jacob B. Boyer                            Adam D. Roach
Jacob B. Boyer                                Special Assistant Attorney General
Deputy Attorney General
                                              150 South Main Street
Office of the Pennsylvania Attorney General   Providence, RI 02903
1600 Arch Street, Suite 300                   Phone: 401-274-4400 x 2490
Philadelphia PA, 19103                        aroach@riag.ri.gov
Phone: 267-768-3968
jboyer@attorneygeneral.gov




                                               47
     Case 1:20-cv-00119-BAH        Document 65    Filed 06/24/20      Page 62 of 62




MARK R. HERRING                             THOMAS J. DONOVAN
Attorney General                            Attorney General
Commonwealth of Virginia                    State of Vermont

/s/ Jessica Merry Samuels                   /s/ Benjamin D. Battles
                                            Benjamin D. Battles
Jessica Merry Samuels (D.C. Bar No.         Solicitor General
1552258)
Assistant Solicitor General                 109 State Street
                                            Montpelier, VT 05609
Michelle S. Kallen (D.C. Bar No. 1030497)   Phone: 802-828-5500
Deputy Solicitor General                    benjamin.battles@vermont.gov

Office of the Attorney General
202 North Ninth Street
Richmond, Virginia 23219
Phone: 804-786-7240
Fax: 804-371-0200
solicitorgeneral@oag.state.va.us


JAMES E. JOHNSON
Corporation Counsel
City of New York

/s/ Tonya Jenerette
Tonya Jenerette
Sabita Krishnan
Assistant Corporation Counsel

100 Church Street
New York, New York 10007
Phone: 212-356-2273
skrishna@law.nyc.gov




                                             48
